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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


 Anthony MacKay, Arion                                Case No. 20-1149-RGA
 Robinson, Aziz Khetani, Doug
 LaMarca, John Irvine, Nicolas                     AMENDED CLASS ACTION
 Urquiza, Patrick Eckert, Ye Wang,                     COMPLAINT
 individually and on behalf of all
 others similarly situated,                         JURY TRIAL DEMANDED

                            Plaintiffs,
 v.

 Lenovo (United States) Inc.,

                           Defendant.


      Plaintiffs Anthony MacKay, Arion Robinson, Aziz Khetani, Doug LaMarca,

John Irvine, Nicolas Urquiza, Patrick Eckert, and Ye Wang, individually and on

behalf of all others similarly situated, by their attorneys, file this Class Action

Complaint (“Complaint”) against Defendant Lenovo (United States) Inc.

(“Lenovo”). The following allegations are based on personal knowledge as to

Plaintiffs’ own conduct and on the investigation conducted by their counsel as to

all other allegations.

               INTRODUCTION AND SUMMARY OF ACTION

      1.     Plaintiffs bring this consumer class action alleging that Lenovo misled

consumers about the quality and functionality of certain laptop computers that it




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designed, manufactured, marketed, sold, and distributed to thousands of consumers

throughout the United States.

      2.     These laptop computers possess a material defect the prevents them

from being used as portrayed in Lenovo’s advertising materials, and Lenovo

concealed, failed to disclose, or otherwise engaged in deceptive marketing with

respect to this defect. As a result, many consumers purchased computers that

became practically unusable after months or even days of use.

      3.     In May 2017, Lenovo introduced a new model of laptop computer

marketed in North America as the Flex 5 and in other regions as the Yoga 520 (the

“Flex 5”). In April of the following year, Lenovo began selling the Yoga 730

laptop computer (the “Yoga 730”, and together with the Flex 5, the “Class

Laptops”).

      4.     Defendant marketed both computers as “2-in-1” devices with “360°

flexibility”: laptops with touchscreen monitors that can be folded flat against the

underside of the base of the machine to approximate the form of a tablet computer.

Lenovo represented that the Class Laptops:

      “Stay Flexible with 360-Degree Hinge . . . More than just a traditional

      laptop, the Flex 5 transitions with your schedule. Thanks to a durable 360-

      degree hinge, you can easily flip into tablet mode for browsing the web, or




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         stream a TV show in tent mode. With this much flexibility, you’ll always

         find your perfect viewing angle.”

                                                    ***

         “Brilliant Clarity of Full High Definition Viewing . . . With up to 15.6” FHD

         IPS touchscreen narrow-bezel display, you can watch movies and browse the

         web in vivid detail from nearly every angle. Whether you’re lounging on the

         couch or watching with friends, we’ve narrowed two sides of the screen to

         maximize your viewing experience.”

                                                    ***



         “The Yoga 730 13” is a truly multimode device, elegantly designed to be

         equally stylish as you transition from tablet mode to laptop mode and back.

         Available in sophisticated Iron Grey.”

                                                    ***

         “You can transition from tablet model to laptop mode and back with the new

         Yoga 730 15”. Designed to be as stylish as you are, it is available in

         sophisticated Platinum.”1


1
    See Lenovo Yoga 730 Tour, February 26, 2018,
https://www.youtube.com/watch?v=ZK1CYacQ6_E&feature=youtu.be (last accessed June 6, 2019); Flex 5
(14”), Product Page, https://www.lenovo.com/us/en/laptops/ideapad/ideapad-flex-series/Flex-5-
14/p/88IP8FX0831 (last accessed June 6, 2019) (hereinafter, “Flex 5 Product Page”); Lenovo Yoga
730 (13”) Product page, https://www.lenovo.com/us/en/laptops/yoga/700-series/Yoga-730-13-
/p/88YG7000964 (last accessed Feb. 7, 2020).

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       5.      Lenovo’s marketing materials also boast of “Ultra HD” and “4K” high

resolution displays, claiming that “you’ll see every detail” and “you’ll be able to

watch movies and browse the web in vivid detail from nearly every angle.”2

       6.      Defendant uniformly represented to consumers that it had years of

experience in the manufacture of computers and mobile devices and was in effect

an expert in the manufacture, design, and use of computers.

       7.      Plaintiffs and Class members saw or heard these representations from

Defendant about the Class Laptops prior to purchasing their Flex 5 or Yoga 730

computers.

       8.      Plaintiffs and Class members all purchased Class Laptops that failed

in ordinary use of the machine, with part or all of the monitor display flickering,

freezing, blacking out, and/or displaying corrupted visuals (e.g., a grey screen

marked by vertical lines).

       9.      Contrary to Lenovo’s representations, Lenovo fails to disclose that the

Class Laptops are designed and manufactured with a common inherent defect that

over time compromises the monitor display (the “Defect”), impairing the

computer’s graphical user interface. As a result, the user’s ability to input




2
  See Yoga 730 15” Laptop, Product Page, https://www.lenovo.com/us/en/laptops/yoga/700-series/Yoga-
730-15/p/88YG7000965 (last accessed June 6, 2019); FLEX 5 15.6” Datasheet,
http://psref.lenovo.com/syspool/Sys/PDF/datasheet/Lenovo_Flex_5_15IKB_datasheet_EN.pdf (last accessed
June 6, 2019).

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information into the computer and to view program output (which is to say, the

primary modes of user interaction with a computer) is dramatically reduced. Thus,

the Defect renders the computer partially or wholly unusable.

      10.    According to Plaintiffs and other Flex 5 and Yoga 730 laptop owners

who have experienced the Defect, the common display problems are triggered and

exacerbated when the display is opened or moved, such as when the user folds the

monitor into “tent mode” or “tablet mode.”

      11.    Upon information and belief, the Defect is the result of ordinary stress

on a vital component that is common in the Class Laptops. Specifically, in the

Class Laptops, visual information is transmitted to the display via the embedded

DisplayPort cable (“eDP cable”), which connects the computer’s display to the

motherboard and travels through the hinge assembly connecting the display and the

body of the machine. If the eDP cable is poorly routed, opening and moving the

display (such as when folding the monitor into tablet or tent mode) could loosen

the cable and lead to the issues associated with the Defect.

      12.    Consequently, the Class Laptops are not fit for their intended purpose

as 2-in-1 laptop computers and cannot satisfy the representations Lenovo made in

its marketing materials and warranties.




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      13.    There are hundreds, if not thousands, of customer posts on

Defendant’s own online forum complaining of the display issues described above

in the Class Laptops. These posts date back to at least December 2017.

      14.    Lenovo has responded to the Defect in several ways, all of which are

inadequate. In communications with some owners of the Class Laptops, Lenovo

has stated that a wiring issue was causing the screen flickering and other display

issues. Despite acknowledging the Defect in this fashion, Defendant has been

unable or unwilling to address the true scope and pervasive nature of the Defect in

the Class Laptops.

      15.    Defendant’s laptop computers are covered by a limited warranty (the

“Limited Warranty”), which warrants that Lenovo products are free of defects in

material and workmanship and that Lenovo will repair, replace, or refund the

purchase if it is unable to repair a product.

      16.    The Defect manifests both inside and outside of the warranty period.

Defendant has been unable to fix the Defect during the warranty period and

routinely refuses to repair the Defect free of charge outside of the warranty period.

      17.    Many other purchasers of the Class Laptops have also sent their

computers in for repair (often multiple times), only to find that the same issues

crop up after the purported repairs. Plaintiffs MacKay and Eckert also sent Lenovo




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a notice letter on their own behalf and on behalf of the class before filing this

action.

      18.    Despite being aware of the cause of the Defect, Lenovo and its

representatives have often engaged in, or directed frustrated customers to engage

in, ineffective repair methods. Many customers who attempted to exercise their

rights under the warranty were told the display issues were the result of a software

problem and were told to install or update software, which did not fix the Defect.

And when Lenovo accepted a Class Laptop for repair under the warranty, it often

replaced the screen, “rerouted” the eDP cable, or merely taped it into place. None

of these purported repairs remedied the display issues, because none addressed the

Defect.

      19.    Defendant marketed, promoted, and sold the Flex 5 and Yoga 730

laptops as 2-in-1 laptops featuring high resolution displays and monitors capable of

folding into tent and tablet modes.

      20.    Defendant knew that a material factor for consumers purchasing a

Flex 5 or Yoga 730 was that the device possesses a monitor capable of movement

into various positions and be able to consistently display visual information via a

graphical user interface.




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      21.    The Defect, however, makes it difficult or impossible to interface with

programs, watch movies, play games, or otherwise engage in a typical fashion with

the Class Laptops.

      22.    Lenovo concealed from and/or failed to disclose to Plaintiffs and the

Class the defective nature of the Class Laptops, and failed to remove the Class

Laptops from the marketplace or take adequate action to remedy the Defect.

Rather, Lenovo sold and serviced the Class Laptops even though it knew, or was

reckless in not knowing, that the Defect impacted the display of the Class Laptops

and would ultimately result in Plaintiffs’ and Class members’ inability to use their

Class Laptops for their intended purpose.

      23.    Defendant’s knowledge of the defect is evident from its

acknowledgment of the defect as detailed herein, and from complaints lodged on

Defendant’s own online forum.

      24.    As a result of Lenovo’s unlawful, unfair, fraudulent, misleading, and

deceptive practices, Plaintiffs and other consumers have purchased Lenovo’s

products under the mistaken belief that the Flex 5 and Yoga 730 laptops possessed

high quality, functional monitor displays that were capable of folding without

damaging the machine.

      25.    Had Plaintiffs and the Class known the facts regarding the Defect in

the Class Laptops, those facts would have been material to their and any


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reasonable consumer’s decisions to purchase the Class Laptops at the price they

paid for them.

      26.    As a consequence of Lenovo’s false and misleading statements, its

active concealment of the Defect, and its failure to repair or otherwise address the

Defect, Plaintiffs and the Class have suffered injury in fact and actual damages in

that the Class Laptops they purchased are unreliable and/or unusable for their

intended purposes. As a direct and proximate result of the Defect, Plaintiffs and the

Class have also suffered or will suffer damages in the form of, inter alia: out-of-

pocket expenditures for the replacement and attempted repairs of the Class

Laptops; diminished value of the Class Laptops; and the failure to receive the

benefit of the bargain in their purchases of the Class Laptops.

      27.    Accordingly, Plaintiffs bring claims for Defendant’s breaches of

warranties, violations of state consumer protection law, and violations of state

common law as further detailed herein.

      28.    In furtherance of the public interest, and in order to remedy Lenovo’s

wrongful conduct, Plaintiffs bring this action as a class action, and assert claims on

behalf of themselves and a class of similarly situated persons seeking money

damages, equitable relief, and injunctive relief for Defendant’s conduct described

herein.




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      29.    Upon information and belief, Defendant continues to sell the Class

Laptops and continues to misrepresent and/or knowingly and intentionally conceal

material facts concerning the characteristics, uses, and quality of the Class

Laptops.

      30.    This action will benefit the public interest by enjoining Defendant

from misrepresenting and/or knowingly and intentionally concealing material facts

concerning the characteristics, uses, and quality of the Class Laptops, which

Defendant continues to advertise and sell to the general public.

      31.    There is the threat of future injury because Plaintiffs and Class

Members will need to be in the market to purchase other laptop computers, thus

rendering injunctive relief appropriate.

      32.    Because of the relatively small size of the typical individual Class

members’ claims, it is unlikely that individual Class members could afford to seek

recovery on their own. This is especially true in light of the size and resources of

Defendant. A class action is, therefore, the only reasonable means by which Class

members can obtain relief.

                                     PARTIES
      33.    At all times relevant herein Plaintiff, Anthony MacKay, was a

permanent resident of the United States residing in Washington. Plaintiff




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purchased a Flex 5 for his personal use in connection with school on August 30,

2017, for $1,049.99, from an online retail seller.

      34.    At all times relevant herein Plaintiff Arion Robinson was a permanent

resident of the United States residing in Michigan. Plaintiff purchased a Flex 5 for

personal and business use on August 20, 2018, for $999.99, from online retailer

Fingerhut.

      35.    At all times relevant herein Plaintiff Aziz Khetani was a permanent

resident of the United States residing in Georgia. Plaintiff purchased a Flex 5 for

personal use and for use in his role as an adjunct professor. Plaintiff purchased the

Flex 5 on March 9, 2018, for $584.99, direct from Lenovo’s website.

      36.    At all times relevant herein Plaintiff Doug LaMarca was a permanent

resident of the United States residing in Pennsylvania. Plaintiff purchased a Flex 5

for his daughter to use throughout college. Plaintiff bought the laptop from

Costco’s online store on March 3, 2018 and paid $1,199.99.

      37.    At all times relevant herein Plaintiff John Irvine was a permanent

resident of the United States residing in California. Plaintiff purchased a Flex 5 for

personal use and business use as an independent contractor. Plaintiff purchased the

Flex 5 from Costco retail location in Concord, CA, on August 26, 2018 and paid

$999.99.




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      38.    At all times relevant herein Plaintiff Nicolas Urquiza was a permanent

resident of the United States residing in New York. Plaintiff purchased a Flex 5 for

personal and business reasons. He purchased a Certified Refurbished Flex 5 from

Amazon’s website on July 30, 2018 for $783.43.

      39.    At all times relevant herein Plaintiff Patrick Eckert was a permanent

resident of the United States residing in Massachusetts. Plaintiff purchased a Flex 5

for his son to use. Plaintiff purchased the Flex 5 on August 18, 2018 for $807.49,

from Office Depot’s website.

      40.    At all relevant times herein Plaintiff Ye Wang was a permanent

resident of the United States residing in New Jersey. Plaintiff purchased a Flex 5

on August 10, 2017, for $584.96, from a MicroCenter store in Paterson, NJ.

      41.    Defendant Lenovo is a Delaware corporation with its principal office

located at 1009 Think Place, Morrisville, North Carolina, 27560. Upon information

and belief, Lenovo is a subsidiary of Lenovo Group Limited, a global Fortune 500

company and one of world’s largest manufacturers and sellers of computers, with

its global headquarters located in Beijing, China. Defendant Lenovo utilizes the

website www.lenovo.com/us and its related webpages, as well as resellers, to

market and sell personal computers and related products directly to consumers

throughout the United States, including to consumers in Washington and

Delaware.


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                           JURISDICTION AND VENUE

      42.      This Court has personal jurisdiction over Defendant because it is

incorporated in the State of Delaware; has consented to jurisdiction by registering to

conduct business in the state; maintains sufficient minimum contacts in Delaware;

and otherwise intentionally avails itself of the markets within Delaware through

promotion, sale, marketing and distribution of its computers, which renders the

exercise of jurisdiction by this Court proper and necessary as Lenovo is “at home”

in Delaware.

      43.      This Court has subject matter jurisdiction over all of Plaintiffs’ claims

under 28 U.S.C. § 1332(d). This is a class action, the matter in controversy exceeds

the sum of $5,000,000 exclusive of interest and costs, and Plaintiffs and the Class

members are citizens of states different from defendant.

      44.      Venue is proper in this District under 28 U.S.C. § 1391 because a

substantial part of the events giving rise to the claim occurred in this district.

                              STATEMENT OF FACTS
      45.      Lenovo’s parent company was founded in China in 1984 and is

headquartered in Beijing. The company designs, develops, manufactures, and

sells personal computers, tablet computers, smartphones, workstations, servers,

electronic storage devices, IT management software, and smart televisions.




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        46.   Lenovo operates in more than sixty countries and sells its products in

around one hundred and sixty countries. Lenovo’s principal facilities are in Beijing

and Morrisville, North Carolina, with research centers in China, Japan, and

Morrisville, sales centers in Beijing, Morrisville, France, and Singapore, and

manufacturing centers in China, Mexico, India, and Whitsett, North Carolina.

        47.   As of March 2019, Lenovo was the world’s largest personal computer

vendor by unit sales.

        48.   Lenovo launched the Yoga family of computers—products named for

their ability to assume multiple form factors due to a hinged screen—in 2012, with

the launch of the Lenovo IdeaPad Yoga 13 laptop computer. Since that time,

Lenovo has released at least 20 new lines laptop computers under the Yoga and

Flex brand names.

A.      The Class Laptops
        49.   Both the 14” screen and 15” screen models of the Flex 5 laptops went

to market in or around May 2017 with the basic models priced at $799.99. The

Yoga 730 model of laptop went to market in or around April 2018; the basic 13”

screen model was priced at $880, while the basic 15” screen model was priced at

$990.




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       50.     Defendant marketed both computers as high quality 2-in-1 laptops

with touchscreen monitors that could be folded flat against the underside of the

base of the machine.

       51.     Specifically, Lenovo stated that the “durable” and “versatile 360-

degree hinge” of the Flex 5 enabled the user to “easily flip into tablet mode for

browsing the web, or stream a TV show in tent mode. With this much flexibility,

you’ll always find your perfect viewing angle.” 3

       52.     Similarly, Lenovo marketed the “360° flexibility” of the Yoga 730,

describing it as a “truly multimode device, elegantly designed to be equally stylish

as you transition from tablet mode to laptop mode and back.”4

       53.     Defendant represented to consumers that it had years of experience in

the manufacture of computers and was in effect an expert in the manufacture,

design, and use of computers.



3
  See Flex 5 Product Page; YOGA 520 Tour, February 27, 2017,
https://www.youtube.com/watch?v=nAt5k4zP2fs (last    accessed June 6, 2019). Defendant also touted the
“brilliant clarity of full high definition viewing” of the “touchscreen narrow-bezel display”
enabling users to “watch movies and browse the web in vivid detail from nearly every angle,”
and the “precise design” of the machine. See also Flex 5 Product Page.
4
  See Lenovo Yoga 730 Tour, February 26, 2018,
https://www.youtube.com/watch?v=ZK1CYacQ6_E&feature=youtu.be (last accessed June 6, 2019); Yoga
730 Datasheet, https://forums.lenovo.com/lnv/attachments/lnv/mwc2018_en/3/1/53905_Yoga%20730-13-
15IKB%20Datasheet_FA_180219_LR.pdf (last accessed June 6, 2019). Defendant marketed the Yoga
730 as a “premium” machine featuring a “15” wide-angle display” designed for “watching the
latest in theatrical quality video, movies, and TV exactly the way they were meant to be seen.
With 300 nits brightness, you’ll see every detail.” See Yoga 730 15” Laptop, Product Page,
https://www.lenovo.com/us/en/laptops/yoga/700-series/Yoga-730-15/p/88YG7000965 (last accessed June 6,
2019).

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          54.      Defendant’s Limited Warranty “warrants that each Lenovo hardware

product that you purchase is free from defects in materials and workmanship under

normal use during the warranty period.”5 If a Lenovo-approved service provider

“determines that it is unable to repair your product, the Service Provider will

replace it with one that is at least functionally equivalent. If the Service Provider

determines that it is unable to either repair or replace your product, your sole

remedy under this Limited Warranty is to return the product to your place of

purchase or to Lenovo for a refund of your purchase price.”6

          55.      Defendant designed, manufactured, warranted, advertised, and sold

the Class Laptops to thousands of consumers throughout the United States.

          56.      Defendant marketed, promoted, and expressly warranted that the

Class Laptops were premium, fully functioning 2-in-1 computers, able to assume

tablet and tent mode, and furthermore able to perform all of the basic functions of

similar laptops of their class.

          57.      Plaintiffs and the Class members purchased their Class Laptops to be

used for computing purposes like those portrayed by Defendant in their marketing

materials for all of the Class Laptops.




5
    See Lenovo Limited Warranty, https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-0010-
02_en_update.pdf(last accessed June 6, 2019).
6
    Id.

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B.    The Defect

      58.     Contrary to Lenovo’s representations, the Class Laptops are designed

and manufactured with an inherent defect that compromises the monitor display.

During ordinary use of the machine, the Defect causes part or all of the monitor

display to flicker, freeze, black out, and/or display corrupted visuals (e.g., a gray

screen marked by vertical lines). When these issues manifest, use of the computer

is, at best, difficult, and often impossible because the user cannot see their own

input or the computer’s visual output. Since the Defect impairs the user’s visual

interface to the machine, it renders the device partially or wholly unusable.

      59.     According to Plaintiffs and other Flex 5 and Yoga 730 Laptop owners

who have experienced the Defect, the display problems are triggered and

exacerbated when the display is opened or moved, such as when the user folds the

monitor into tent or tablet mode.

      60.     Consequently, the Class Laptops are not fit for their intended purpose

and cannot perform in accordance with Lenovo's marketing materials and

warranties.

C.    Plaintiff Specific Facts

         i. Plaintiff MacKay

      61.     Plaintiff MacKay purchased a Flex 5 for his personal use in

connection with school on August 30, 2017, for $1,049.99, from an online retail



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seller. Plaintiff researched the Flex 5 online before he bought it, including by

reviewing Lenovo’s representations that it was able to be used in laptop mode, tent

mode, presentation mode, and tablet mode, on Lenovo’s website and third-party

reviews. These representations led Plaintiff to believe that the Flex 5 would be

suitable for laptop and tablet use. Plaintiff viewed Lenovo’s representations on its

website and thereafter purchased the Flex 5 because he was induced to believe its

functionality would fit his needs.

        62.   His purchase was covered by the Limited Warranty for a period of one

year.

        63.   Within weeks of purchasing the computer Plaintiff noticed the

monitor display flickering. This issue worsened over time, greatly diminishing his

ability to use the machine, and only a few months after the purchase the display

began blacking out, rendering the computer unusable. These issues would occur

after only minutes of use and sometimes upon powering on the machine.

        64.   Plaintiff sent his Flex 5 to Lenovo for repair twice under the Limited

Warranty. The first time, in or around June 2018, Lenovo failed to fix the Defect

and Plaintiff continued to experience screen flickering and black out while using

the machine. Plaintiff sent his computer to Lenovo a second time in January 2019,

but the day after Plaintiff received the purportedly repaired computer the screen

flickering and black outs resumed.


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      65.    In February 2019, after the second failed repair attempt, Plaintiff

again contacted Lenovo about repairing his Flex 5, but Lenovo stated that his

warranty had expired and refused to repair the machine free of charge.

      66.    The issues caused by the Defect were so severe that Plaintiff has been

unable to use his laptop unless it is connected to an external monitor.

      ii.    Plaintiff Arion Robinson

      67.    Plaintiff Robinson purchased a Class Laptop manufactured by

Defendant on August 20, 2018, for $999.99, from online retailer Fingerhut.

Plaintiff intended to use the computer for personal, business, and academic

reasons, and was induced to purchase the device because of Lenovo’s

representations of the Flex 5 as a capable 2-in-1 device, which Ms. Robinson took

to mean that she could use the laptop as a tablet. Ms. Robinson also considered the

laptop's storage and processor configurability to be the most cost-effective option

for her needs.

      68.    Before deciding on the Flex 5 as her purchase, Ms. Robinson also

considered Microsoft, Dell, and HP options but found their offerings to be outside

of her price range. Plaintiff purchased the Flex 5 because she could split up

payments through the online retailer, Fingerhut, and the configuration she could

afford, along with the Flex 5’s features, matched her needs.




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      69.      Plaintiff Robinson’s purchase was covered by the Limited Warranty

for a period of one year.

      70.      On or about February 10, 2020, Plaintiff noticed the monitor display

flickering. The flickering occurrence was random, sometimes manifesting right

after startup, and other times after regular use. Plaintiff is afraid of closing her

laptop for fear that the display will entirely cease to function.

      71.      On or about July 23, 2020, Plaintiff contacted Lenovo’s customer

support. Lenovo informed Plaintiff that because her device was out of warranty,

she would have to take her laptop to a local repair shop and repair it at her own

cost. Despite her laptop being covered by Lenovo’s Limited one-year warranty,

Plaintiff came to realize after checking on Lenovo’s website that the warranty

began to run on November 2017 and would run out in January 2019. Ms. Robinson

purchased her device in August 2018, meaning she only had five months of

warranty coverage left. At no point did Lenovo offer to return the purchase price.

      72.      Plaintiff bought her device on credit and continues to make payments

on the defective Class Laptop. She has not yet purchased a replacement device.

      73.      Due to the Defect, Ms. Robinson has missed work and classes. She

continues to make payments and has resorted to keeping the device on at all times,

disabling sleep mode, and leaving the device charged so as not to risk the display

turning off.


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      74.    Plaintiff used her Class Laptop as any reasonable consumer would.

Had Plaintiff known of the Defect, she would not have purchased the Class Laptop

or would have paid less for it.

      iii.   Plaintiff Aziz Khetani

      75.    Plaintiff purchased a Flex 5 manufactured by Defendant on March 9,

2018, for $584.99, direct from Lenovo’s website. Plaintiff intended to use the

computer as a personal device and also in his role as an adjunct professor. He

needed a reliable computer to communicate and stay in touch with his students,

particularly one with a dependable screen and camera.

      76.    Plaintiff Khetani researched the laptop’s specifications by visiting

Lenovo’s website. There he saw Lenovo’s primary representations of the laptop’s

ability to turn into a tablet and that it had a touch screen. Plaintiff believed that the

combination of these features, a touchscreen and 360°, would provide him with

flexibility while on-the-go and were convenient features. Plaintiff also saw

Lenovo’s representations of the Flex 5’s good build quality, because of the metal

material used. Plaintiff also relied on Lenovo’s reputation for durability when

making his purchase. It was Lenovo’s reputation for creating durable products that

led Mr. Khetani to purchase the Flex 5 over competitor offerings from Dell, Acer,

and HP. Mr. Khetani believed he would be purchasing a quality product.




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        77.   His purchase was covered by the Limited Warranty for period of one

year.

        78.   On or about June 2019, Plaintiff noticed the monitor display

flickering. The defect happened seemingly at random, but would also be triggered

whenever he moved the laptop or touched the screen.

        79.   On or about July 15, 2020, after contacting Lenovo’s customer

support, Plaintiff received an email informing him that his case had been elevated

and assigned a Customer Care Case Manager.

        80.   On or about July 21, 2020, Plaintiff received another email from

Lenovo informing him that, due to his device being out of warranty, he would not

be provided an out-of-warranty repair. Plaintiff continued to seek a resolution with

Lenovo’s customer service team, but received no further responses as his case had

been closed. At no point was Plaintiff given the option to receive his purchase

price back.

        81.   Unable to reach a resolution with Lenovo and still in need of his

laptop, Plaintiff was forced to find alternative solutions. On or about August 17,

2020, Plaintiff purchased an external monitor from Staples’ online store, due to the

defective nature of his laptop’s display. He paid $85.58 for the external monitor.

Because the computer’s camera also did not work due to the defect, Plaintiff




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purchased his brother’s used MacBook for $200 to use its functioning screen and

camera.

        82.   Plaintiff never received a reimbursement for either of these purchases.

        83.   Plaintiff used his Class Laptop as any reasonable consumer would.

Had Plaintiff known of the Defect, he would not have purchased the Class Laptop

or would have paid less for it.

        iv.   Plaintiff Doug LaMarca

        84.   Plaintiff purchased for his daughter a Flex 5 manufactured by

Defendant on March 3, 2018, for $1,199.99, from Costco’s online store. Plaintiff

intended for his daughter to use the computer to finish her senior year of high

school and for her to use throughout college.

        85.   His purchase was covered by the Limited Warranty for a period of one

year.

        86.   Plaintiff chose the Lenovo over competitor products because he

believed that Lenovo had a good reputation for manufacturing quality products.

Plaintiff anticipated that his daughter’s college work and assignments would be

aided by a laptop with a touchscreen display and pen input that could also be

turned into a tablet. Lenovo’s representations of the Flex 5 as able to be used in

laptop mode, tent mode, presentation mode, and tablet mode, led Plaintiff to




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believe that the Flex 5 would be suitable for laptop and tablet use. The Flex 5’s

solid state storage size was also important to Mr. LaMarca.

      87.    On or approximately April 2019, Plaintiff’s daughter reported that the

Class Laptop had begun to flicker, delaying her ability to complete her schoolwork

and leading to loss of work. The flickering began immediately at startup of the

device. The screen’s flicker continued worsening through May. By July, the screen

was unusable.

      88.    On or around July 2019, Plaintiff contacted Lenovo’s service line and

learned that his laptop was out of warranty. Repairs would not be covered without

an out-of-pocket payment. At no point did Lenovo offer to return to Plaintiff the

purchase price of the laptop.

      89.    Still needing a laptop for his daughter to complete her school work,

Plaintiff spent approximately $1200 to purchase a MacBook Pro. Plaintiff has not

received a reimbursement from Lenovo for this purchase.

      90.    Plaintiff’s daughter used the Class Laptop as any reasonable consumer

would. Had Plaintiff known of the Defect, he would not have purchased the Class

Laptop or would have paid less for it.

      v.     Plaintiff John Irvine

      91.    Plaintiff Irvine purchased a Flex 5 manufactured by Defendant on

August 26, 2018, for $999.99, from Costco’s website and picked up his device


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from the Costco located at 2400 Monument Blvd., Concord, CA 94520. Plaintiff

intended to use the computer for personal reasons and to assist him run his

business as an independent contractor.

        92.   Plaintiff Irvine considered laptops from a number of manufacturers

but decided on the Flex 5 for the features it offered, including its touchscreen 4K

resolution display. Its value proposition, given the specifications he obtained,

greatly influenced Mr. Irvine’s purchase. Mr. Irvine credits the connection running

through the hinge for the reason why the Defect manifested on his device.

        93.   His purchase was covered by the Limited Warranty for a period of one

year.

        94.   On or about January 2019, Plaintiff noticed multiple display issues.

These included, flickering, freezing, blacking out, and corrupted images. The

defect happened seemingly at random, sometimes not manifesting for weeks at a

time. Other times, the defect would appear at startup, leading Plaintiff to restart his

computer several times before the flickering stopped. The issue was so severe that

any written content on the screen became unreadable. Because the flickering would

sometimes occur while Plaintiff was in the middle of a project, he had no choice

but to cycle through several restarts because the device was unusable otherwise.

        95.   Plaintiff would periodically receive pop-up messages from Lenovo on

his home screen that offered to scan his device and warn him of problems. The


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scans instructed Mr. Irvine to contact Lenovo since problems had been detected.

Mr. Irvine contacted Lenovo more than once in response to the service scans and

allowed Lenovo remote access to address latent issues, none of which were related

to, or fixed, the screen flicker. At the end of the service session, Lenovo offered

anti-virus software for Plaintiff to purchase. Because these remote sessions neither

detected nor fixed the screen flicker defect, Plaintiff thought it would be fruitless to

contact Lenovo over the phone, for fear that he would be asked to go through the

same steps as in the remote access sessions.

      96.    Plaintiff endured the Defect for over a year, switching over to an older

laptop that the Flex 5 was purchased to replace when the screen would not stop

flickering. Mr. Irvine eventually replaced the Flex 5 with a 15-inch LG Gram

purchased from Costco for $1309.99, which he purchased on November 27, 2020.

      97.    Plaintiff never received a reimbursement for this laptop.

      98.    Plaintiff used his Class Laptop as any reasonable consumer would.

Had Plaintiff known of the Defect, he would not have purchased the Class Laptop

or would have paid less for it.

      vi.    Plaintiff Nicolas Urquiza

      99.    Plaintiff Urquiza purchased a Certified Refurbished Flex 5

manufactured by Defendant on July 30, 2018, for $783.43, from Amazon’s

website.


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      100. Prior to making his purchasing decision, Mr. Urquiza saw the Flex 5

advertised in several websites such as Amazon and Best Buy. The advertisements

represented that the Flex 5 was a 2-in-1 device capable of being used as a laptop

and tablet. Some of the photos Mr. Urquiza saw showed the laptop open at 90°-

100° to allow for keyboard use. In other photos, the Flex 5 appears with the

keyboard facing down and the display open in an angle greater than 270°, implying

the device could be used to watch video or interact with the device through the

touchscreen only. Mr. Urquiza also saw photos showing the device open in an

angle of about 300°, upside down, and supported upon a surface by the upper edge

of the display frame and the lower edge of the keyboard case. The images

displayed on the laptop screen were upright, implying that the image would be

conveniently rotated for an intended use of the device in such a way. Lastly, Mr.

Urquiza also saw the Flex 5 open 360°, with the keyboard facing down and the

screen facing up, allowing its use as a tablet. Mr. Urquiza also saw the Flex 5

advertised as compatible with a stylus.

      101. Plaintiff intended to use the computer for personal and business

reasons. He consulted reviews on blogs and websites like CNET before making his

purchasing decision. Mr. Urquiza looked for a combination of specifications that

would aid his video and photo editing needs, for the price range he was




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considering. The Flex 5’s representations as a 2-in-1 device, capable of being used

as a laptop and tablet, was a key feature that informed Mr. Urquiza’s decision.

      102. Plaintiff’s purchase was covered by a 90-day warranty.

      103. On or about April 2019, Plaintiff noticed the monitor display

flickering. Its occurrence was random, though could be triggered when he moved

the screen. Vibrations from the keyboard when typing also seemed to trigger the

screen flicker, as would browsing certain websites.

      104. Plaintiff Urquiza frequently travels in South America for work and is

still there because of the pandemic. He took his device to two different repair shops

in Argentina and Brazil, where he was informed of this problem. The repair shops

notified Plaintiff that they could only provide temporary fixes, by reconnecting the

Flex’s components. A permanent fix, they advised, would require replacement of

the entire screen. In total, taking into account currency conversion, Plaintiff

estimates he spent around $50 for these repairs.

      105. Plaintiff was unable to find Lenovo’s customer support email address

so he opened a chat support line, where he was informed the Defect was a

hardware issue. Plaintiff was advised to call Lenovo’s support phone line. Since he

was in another continent and because his device was out of warranty, he thought it

futile to further contact Lenovo.

      106. Plaintiff never received a reimbursement for the cost of his repairs.


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        107. Plaintiff used his Class Laptop as any reasonable consumer would.

Had Plaintiff known of the Defect, he would not have purchased the Class Laptop

or would have paid less for it.

        vii.   Plaintiff Patrick Eckert

        108. Plaintiff purchased a Flex 5 manufactured by Defendant on August

18, 2018, for $807.49, from Office Depot’s website. Plaintiff intended for his son

to use the computer.

        109. His purchase was covered by the Limited Warranty for a period of one

year.

        110. Plaintiff purchased the Flex 5 because he needed a laptop with the

internals of a traditional computer, but one that could also become a tablet to make

it easier for his son to use. The Flex 5’s hinge, which allowed the laptop display to

rotate 360°, made this device a suitable choice for the special needs of his son.

        111. Within four months of purchasing the computer Plaintiff noticed the

monitor display flickering. This issue worsened over time, greatly diminishing his

ability to use the machine, and only a few months after the purchase the display

began blacking out, rendering the computer unusable. These issues would occur

after only minutes of use and sometimes upon powering on the machine.

        112. Plaintiff contacted Lenovo three days after his warranty expired for

guidance on how to repair his device. He was informed that he would need to take


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his computer to Best Buy and pay out of pocket for repairs. At no point did Lenovo

offer to return the purchase price of his computer.

      113. Still in need of the device, Plaintiff purchased a 24-inch monitor for

$169.00 because the Flex 5’s display was unusable. Plaintiff has never been

reimbursed for this purchase.

      114. The issue caused by the Defect were so severe that Plaintiff often

opted to use another eight year old laptop instead of the new Flex 5. During his

first year of ownership, Plaintiff estimates that in the aggregate he used the Flex 5

for approximately two months, after taking into account the time the Flex 5 was

out for repair and the time it was rendered unusable by the Defect.

      115. Plaintiff has recently purchased a replacement laptop from

manufacturer MSI, for which he paid $742.69. Plaintiff has not been reimbursed

for the purchase price of this laptop.

      viii. Plaintiff Ye Wang

      116.   Plaintiff Wang purchased a Flex 5 manufactured by Defendant on

August 10, 2017, for $584.96, from a MicroCenter store located at 263 McLean

Blvd., Route 20 Retail Center, Paterson, NJ 07504. Plaintiff intended to use the

Laptop for personal reasons and was drawn to the device for being a cost-effective

option that included a high-definition screen for watching online videos and an 8th

generation Intel Core i5 processor to meet his work needs. The device’s 2-in-1


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functionality also informed Plaintiff’s purchasing decision. Mr. Wang saw that the

device’s screen could rotate 360° and be positioned in a number of ways, to

include laptop mode, tent mode, presentation mode, and tablet mode, which added

to the Flex 5’s value proposition.

        117. His purchase was covered by the Limited Warranty for a period of one

year.

        118. On or about March 2020, Mr. Wang began to experience the defect.

Immediately upon start up, he would be greeted by a flickering screen ranging in

severity. At times, half of the screen would freeze. Other times, Plaintiff would see

large stripes of blacked out lines.

        119. Plaintiff attempted to contact Lenovo for support, but because of the

COVID pandemic, Lenovo closed its telephone support center. Mr. Wang could

attempt to receive support either though an online chat or through a paid service he

was not willing to pay for. Since his device was out of warranty, he was informed

through the online chat function that Lenovo would not help him resolve his issue.

        120. Still needing the laptop, Plaintiff paid $250 for an HP external

monitor. Plaintiff has not received a reimbursement for this purchase.

D.      Common Factual Allegations

        121. The Defect has impacted many other purchasers of the Flex 5. For

example, on the English Community forum on the Lenovo website (the “Lenovo



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Forum”), on December 26, 2017, a forum member created a thread entitled

“Lenovo Flex 5 1470 black screen flickering” and wrote:

                My ~2 week old Lenovo Flex 5’s screen started to flicker
                a few days ago and the issue has become progressively
                worse since then to a point where most of the screen is
                covered by black flickering at times. The computer starts
                fine, but when the computer is moved and especially when
                the screen is moved up or down the flickering appears.
                Sometimes the flickering only starts after the computer has
                been on for a few hours (restarting the PC fixes the issue
                for a short while).
                I have tried updating to the latest Intel graphics drivers in
                the device manager to no avail. I then tried uninstalling the
                display drivers from the device manager, that only seemed
                to work for a short while.7

          122. In the same thread, another customer replies: “I have the exact same

problem. My issue occurs mostly when i just turn the laptop on but once i start

using it its fine. It does flicker when i move the screen and overtime its gotten

worse when i first pull open the laptop.” Another states: “I am also having this

issue where black flickering will cover all or most of the screen. This problem has

appeared in the last week and I bought this laptop new 3 weeks ago.”8

          123. In another thread on the Lenovo Forum created on December 21,

2017, and entitled “New Flex 5 has some problems,” a customer wrote:

                [A]bout four days ago, the screen started flickering black
                when the screen was positioned a certain way. It happened
7
 See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1470-
black-screen-flickering/m-p/3919809 (last accessed June 6, 2019).
8
    Id.

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                again the next day but hasn't since then. I’m not trying to
                push my luck so I haven’t put it tablet mode. However, the
                night before the problem started I used it in tablet mode
                and might have opened it too quickly. I fear that may have
                been what caused the flickering but I don’t know if it was
                just a temporary thing or if it’s a better bet to send it in to
                have it looked at. I’m a bit against sending it in because
                I’m on break at the moment and would like to use the
                laptop but I don’t want it getting worse when my classes
                start again and I be stuck without a laptop for long time. 9

        124. Within this thread there are four pages of posts like these, and on the

Lenovo Forum there are dozens of threads like this one detailing the issues caused

by the Defect. Below are a few examples of such threads pertaining to the Flex 5,

each one created by a different consumer and containing a multitude of

testimonials regarding the issues created by the Defect:

        1.      Lenovo YOGA 520 Screen Flickering (created February 15, 2018).10

        2.      Flex 5 1570 Display vertical stripe and lower pink band - flicker

                (created April 3, 2018). 11

        3.      Lenovo FLEX 5-1470 black sreen flickering and warranty claim

                (created April 6, 2018). 12

9
  See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/New-Flex-5-has-some-
problems/m-p/3916332 (last accessed June 6, 2019).
10
   See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Lenovo-YOGA-520-Screen-Flickering/m-
p/3981483?search-action-id=465478280913&search-result-uid=3981483 (last accessed June 6, 2019).
11
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Flex-5-1570-Display-vertical-stripe-and-
lower-pink-band-flicker/m-p/4032534?search-action-id=465477875508&search-result-uid=4032534 (last
accessed June 6, 2019).
12
   See https://forums.lenovo.com/t5/General-Discussion/Lenovo-FLEX-5-1470-black-sreen-flickering-and-
warranty-claim/m-p/4035448?search-action-id=465477875508&search-result-uid=4035448 (last accessed June
6, 2019).

                                                    33
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        4.      Screen Flickering on Ideapad Flex 5 (created July 15, 2018). 13

        5.      New Flex 5 screen doesn’t work and poor customer service (created

                November 21, 2018).14

        6.      Lenovo Flex 5 1570 Black Screen Flickering (created December 5,

                2018). 15

        7.      Flex 5 1570 screen flickering in tablet mode (created December 20,

                2018). 16

        125. As with the Flex 5, there are numerous posts on the Lenovo Forum

attesting to the tendency of the monitor display of the Yoga 730 to flicker, freeze,

black out, and/or display corrupted visuals. The earliest mention of this problem is

on May 22, 2018, in a thread that spans twenty-one pages and almost two years. 17

        126. This thread contains numerous accounts of customers attempting to

exercise their rights under the Limited Warranty, and Defendant’s repeated failures

to fix the Defect. For example, on February 7, 2019, a customer wrote: “I kid you


13
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Screen-Flickering-on-Ideapad-Flex-5/m-
p/4141904?search-action-id=465490290853&search-result-uid=4141904 (last accessed June 6, 2019).
14
   See https://forums.lenovo.com/t5/General-Discussion/New-Flex-5-screen-doesn-t-work-and-poor-customer-
service/m-p/4277334?search-action-id=465478125243&search-result-uid=4277334 (last accessed June 6,
2019).
15
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1570-Black-Screen-
Flickering/m-p/4293229?search-action-id=465490290853&search-result-uid=4293229 (last accessed June 6,
2019).
16
   See https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Flex-5-1570-screen-flickering-in-tablet-
mode/m-p/4308542?search-action-id=465477875508&search-result-uid=4308542 (last accessed June 6,
2019).
17
   See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/YOGA-730-flickering-Screen-blicking/m-
p/4085136?search-action-id=465492512299&search-result-uid=4085136 (last accessed June 6, 2019).


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not....I just received my laptop from Lenovo repair center. I turned it on and I have

a dark bar going down the middle. At least the flickering is only on the bottom

half of the screen vs the whole screen….” Another customer reported that: “I had a

lot of trouble with my Lenovo. 1st issue with screen flickering popped up quickly

and I lost use of the laptop for a couple months while being repaired at the service

center. They replaced the screen but that didn't solve the problem and the flickering

started again a few weeks later.”18

           127. In another example, on August 30, 2018, a forum member created a

thread entitled “Yoga 730-131Kb Screen Flickering Issues Have Begun Within

Several Days of Receiving My NEW Laptop,” stating:

                 Following advice posted online by the Lenovo Support
                 team to update my drives and bios has not helped and I am
                 extremly [sic] frustrated [sic] that a new laptop not even a
                 month old is consistantly [sic] glitching on a day to day
                 basis, at times getting [sic] so severe as to impede my
                 work, is there a way to fix this without having to call up
                 the Lenovo customer support and fighting through a
                 machin [sic] answering machine to get some help.19

           128. In the same thread, another customer responds:

                 My sons Yoga 730 he just bought from BestBuy has the
                 same issue. He needs it for school and can’t affort [sic] to
                 send it away for report. I am an IT guy and have checked
                 it out. Windows and Lenovo updates have all been applied



18
     Id.
19
  See https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/Yoga-730-131Kb-Screen-
Flickering-Issues-Have-Begun-Within/m-p/4190562 (last accessed June 6, 2019).

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                 to do not correct the issue. Seems like a [hardware]
                 problem. . . .
          129. There are dozens of threads and hundreds (if not thousands) of posts

in the Lenovo Forum detailing the monitor display problems caused by the Defect

in the Yoga 730. Purchasers of the Flex 5 and Yoga 730 have also posted similar

accounts on many other internet forums.20

          130. Some customers claim to have successfully remedied the Defect by

replacing the eDP cable, which connects the monitor display to the motherboard

and travels through the hinge assembly connecting the monitor and the body of the

machine. If the eDP cable is poorly routed, or subject to pinching, pressure, or

friction, opening and moving the display (such as when folding the monitor into

tablet or tent mode) could loosen the cable and lead to the display issues associated

with the Defect.

          131. On the Lenovo Forum, one customer wrote:

                 I had the laptop repaired by a contracted service technician
                 who replace the [eDP] cable that connects the screen to the
                 main board. Voila. No issues so far. I was told this issue
                 arises with other laptop makes as well! The cable routing


20
     See, e.g., r/Lenovo, Lenovo Flex 5 Screen Issues, November 8, 2018,
https://www.reddit.com/r/Lenovo/comments/9vfuqu/lenovo_flex_5_screen_issues/ (last accessed
June 6, 2019); r/techsupport, Brand new Lenovo Flex 5 screen glitch. Hardware or Software
issue?, August 27, 2017,
https://www.reddit.com/r/techsupport/comments/6wes3h/brand_new_lenovo_flex_5_screen_glitch_
hardware_or/ (last accessed June 6, 2019); Laptop Tech Support, Lenovo Yoga 730 screen
flashing like crazy, November 28, 2018, https://forums.tomsguide.com/threads/lenovo-yoga-730-
screen-flashing-like-crazy.441132/ (last accessed June 6, 2019).


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              and stress from the screen opening and closing apparently
              had damaged the cable. 21

       132. Multiple customers have stated that Lenovo’s repairs under the

Limited Warranty amounted to no more than “reseating” (rather than replacing) the

eDP cable. One customer related their experience with Lenovo after their new

Yoga 730 experienced screen flickering as follows:

              - Contacted customer service, when I described the
                problem they immediately recommended sending it in
                for repairs, as though they know about this common
                issue

              - Sent laptop in for repairs; Lenovo holds my computer
                for weeks with no updates (said 7-9 business days)

             - They provide update after much haranguing, then
               tried to charge me for the repairs, which I was only able
               to fight by engaging them on social media
             - They eventually agreed to greenlight the repairs for no
               charge

             - Lenovo returns my laptop, work order says only
               “reseated display cable” (so they didn't replace anything)

              - Screen flickering again starts          back up      almost
                immediately




21
   See Lenovo Forum, Re: Lenovo Flex 5 1470 black screen flickering, September 7, 2018,
https://forums.lenovo.com/t5/Lenovo-IdeaPad-1xx-3xx-5xx-7xx/Lenovo-Flex-5-1470-black-
screen-flickering/m-p/4213550#M59986 (last accessed June 6, 2019).

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               - I open up the bottom panel, all they did was tape the
                 display connector in place, which is ridiculously
                 ineffective 22

      133. The Defect manifests both inside and outside of the warranty period.

As illustrated above, Defendant is often unable to fix the Defect during the

warranty period and routinely refuses to repair the Defect free of charge outside of

the warranty period.

      134. Lenovo has been on notice of the Defect in the Flex 5 since at least

late 2017, and in the Yoga 730 since at least May 2018 through complaints made

to the Lenovo Forum. Nevertheless, Defendant has failed to adequately respond to

the Defect

      135. Although Lenovo has not officially acknowledged the pervasive

nature of the Defect, it has—according to the accounts of many customers—

communicated to some customers that a wiring issue in the Class Laptops causes

the problem.

      136. Defendant marketed, promoted, and sold the Flex 5 and Yoga 730

laptops as 2-in-1 laptops featuring a high resolution display and a monitor capable

of folding into tent and tablet modes.




22
   See Lenovo Forum, Re: YOGA 730 flickering, Screen blicking, December 11, 2018,
https://forums.lenovo.com/t5/Lenovo-Yoga-Series-Notebooks/YOGA-730-flickering-Screen-
blicking/td-p/4085136/page/17 (last accessed June 6, 2019).



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      137. Defendant knew that a material factor for consumers purchasing a

Flex 5 or Yoga 730 was that the device possesses a high quality display, a foldable

monitor, and be able to consistently display input and output.

      138. Lenovo concealed from and/or failed to disclose to the public at large,

including the Plaintiffs and the Class the defective nature of the Class Laptops, and

failed to remove the Class Laptops from the marketplace or take adequate action to

remedy the Defect. Rather, Lenovo sold and serviced the Class Laptops even

though it knew, or was reckless in not knowing, that the Defect impacted the

display of the Class Laptops and would ultimately result in Plaintiffs’ and Class

members’ inability to use their Class Laptops for their intended purpose.

      139. It is likely that many of the Class Laptops will be used or purchased

by unsuspecting members of the putative class, and injunctive relief could prevent

harm to those who remain unaware of the Defect which can render the Class

Laptops useless. Further, potential Class-wide notice may inform Class members

of potential remedies they may not be aware of.

      140. As the Defect likely results from the design of the Class Laptops—

i.e., the routing of the eDP cable through the monitor hinge—reseating or replacing

the cable are unlikely to fully remedy the Defect.




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                       CLASS ACTION ALLEGATIONS

      141. Plaintiffs bring this lawsuit on behalf of themselves and all similarly

situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a),

23(b)(2), 23(b)(3), and/or 23(c)(4). The classes consist of:

      1.     The Nationwide Class: All purchasers in the United States, excluding

             the state of Minnesota, who purchased a Class Laptop (the

             “Nationwide Class”); and

      2.     The California Subclass: All purchasers in the state of California

             who purchased a Class Laptop (the “California Subclass”, and

             together with the Nationwide Class, the “Class”).

      3.     The Georgia Subclass: All purchasers in the state of Georgia who

             purchased a Class Laptop (the “Georgia Subclass”, and together with

             the Nationwide Class, the “Class”).

      4.     The Massachusetts Subclass: All purchasers in the state of

             Massachusetts who purchased a Class Laptop (the “Massachusetts

             Subclass”, and together with the Nationwide Class, the “Class”).

      5.     The Michigan Subclass: All purchasers in the state of Michigan who

             purchased a Class Laptop (the “Michigan Subclass”, and together with

             the Nationwide Class, the “Class”).




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      6.     The New Jersey Subclass: All purchasers in the state of New Jersey

             who purchased a Class Laptop (the “New Jersey Subclass”, and

             together with the Nationwide Class, the “Class”).

      7.     The New York Subclass: All purchasers in the state of New York

             who purchased a Class Laptop (the “New York Subclass”, and

             together with the Nationwide Class, the “Class”).

      8.     The Pennsylvania Subclass: All purchasers in the state of

             Pennsylvania who purchased a Class Laptop (the “Pennsylvania

             Subclass”, and together with the Nationwide Class, the “Class”).

      9.     The Washington Subclass: All purchasers in the state of Washington

             purchased a Class Laptop (the “Washington Subclass”, and together

             with the Nationwide Class, the “Class”).

      142. Excluded from the Class are: (a) any Judge presiding over this action

and members of their families; (b) Defendant and their subsidiaries and affiliates;

and (c) all persons who properly execute and file a timely request for exclusion

from the Class.

      143. Numerosity: Members of the Class are so numerous that their

individual joinder is impracticable. Moreover, the Class is composed of an easily

ascertainable, self-identifying set of individuals and entities who purchased Class

Laptops. The precise number of Class members can be ascertained through


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discovery, which includes Defendant’s records. Plaintiffs estimate the number of

Class members to be in at least the tens of thousands. The disposition of their

claims through a class action will benefit both the parties and this Court.

      144. Commonality: There are questions of law and fact common to the

Class that will materially advance the litigation, and these common questions

predominate over any questions affecting only individual Class members. Among

the questions common to the Class are:

      1.     Whether the Class Laptops suffer from a design defect that causes the

             eDP cable to fail;

      2.     The origins and implementation of, and the justifications for, if any,

             Lenovo’s policies and technology relating to the Defect and its

             manifestation in the Class Laptops;

      3.     When Lenovo became aware of the Defect in the Class Laptops and

             how it responded to that knowledge;

      4.     Whether Lenovo actively concealed and/or failed to notify consumers

             of the Defect in the Class Laptops;

      5.     Whether Defendant knew of the Defect but failed to disclose the

             problem and its consequences to their customers;

      6.     Whether a reasonable consumer would consider the Defect and its

             consequences to be material;


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      7.    Whether Defendant’s conduct violates state consumer protection laws

            as asserted herein;

      8.    Whether Defendant’s conduct violated the Magnuson-Moss Warranty

            Act;

      9.    Whether Defendant’s sale of Class Laptops containing the Defect is

            unfair, false, misleading, or deceptive acts in the conduct of any trade

            or commerce;

      10.   Whether Defendant breached the implied warranty of merchantability

            by selling the Class Laptops containing the Defect;

      11.   Whether Plaintiffs and the other Class members overpaid for their

            Class Laptops as a result of the Defect alleged herein;

      12.   Whether Plaintiffs and Class Members would have purchased their

            Class Laptops, and whether they would have paid a lower price for

            them, had they known that they contained the Defect at the time of

            purchase;

      13.   Whether Plaintiffs and the Class are entitled to compensatory

            damages, including, among other things: (i) compensation for all out-

            of-pocket monies expended by members of the Class for replacement

            or repair of the Class Laptops; (ii) the failure of consideration in

            connection with and/or difference in value arising out of the variance


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             between the Class Laptops as merchantable in the absence of the

             Defect, and as actually manufactured and sold possessing the Defect;

             and, (iii) whether Plaintiffs and the Class are entitled to all costs

             associated with repair and replacement of their Class Laptops; and

      14.    Whether Plaintiffs and the other Class members are entitled to

             equitable relief, including, but not limited to, restitution or injunctive

             relief.

      145. Typicality: Plaintiffs’ claims are typical of the claims of the members

of the Class, as all such claims arise out of Defendant’s conduct in designing,

manufacturing, marketing, advertising, warranting, and selling the Class Laptops.

All of Plaintiffs’ claims are typical of the claims of the Class because Plaintiffs and

all Class members were injured in the same manner by Defendant’s uniform course

of conduct described herein. Plaintiffs and all Class members have the same claims

against Defendant relating to the conduct alleged herein, and the same events

giving rise to Plaintiffs’ claims for relief are identical to those giving rise to the

claims of all Class members. Plaintiffs and all Class members sustained monetary

and economic injuries including, but not limited to, ascertainable losses arising out

of Defendant’s wrongful conduct as described herein. Plaintiffs are advancing the

same claims and legal theories on behalf of themselves and all absent Class

members.


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      146. Adequate Representation: Plaintiffs will fairly and adequately protect

the interests of the members of the Class and have no interests antagonistic to those

of the Class. Plaintiffs have retained counsel experienced in the prosecution of

complex class actions including, but not limited to, consumer class actions

involving, inter alia, breach of warranties, product liability, product design defects,

and state consumer fraud statutes.

      147. Predominance: This class action is appropriate for certification

because questions of law and fact common to the members of the Class

predominate over questions affecting only individual members.

      148. Superiority: A class action is superior to other available methods for

the fair and efficient adjudication of this controversy, since individual joinder of all

members of the Class is impracticable. Given the amount at issue for each Class

member, individual suits would not be economically viable; however, should

individual Class members bring separate actions, this Court would be confronted

with a multiplicity of lawsuits burdening the judicial system while also creating the

risk of inconsistent rulings and contradictory judgments. In contrast to proceeding

on a case-by-case basis, in which inconsistent results will magnify the delay and

expense to all parties and the court system, this class action presents far fewer

management difficulties while providing unitary adjudication, economies of scale

and comprehensive supervision by a single court.


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                                 CAUSES OF ACTION

                                     Count I
                          Violations of the Song-Beverly
                             Consumer Warranty Act
                        For Breach of Express Warranty
                         (Cal. Civ. Code §§ 1790-1795.8)
            (By Plaintiff Irvine on Behalf of the California Subclass)

      149. Plaintiffs incorporate by reference each preceding paragraph as

though sully set forth herein.

      150. Plaintiff Irvine brings this claim individually and on behalf of the

California Subclass.

      151. Plaintiff Irvine and the California Subclass members who purchased

the Class Laptops are “buyers” within the meaning of Cal. Civ. Code § 1791(b).

      152. The Class Laptops are “consumer goods” within the meaning of Cal.

Civ. Code § 1791(a).

      153. Lenovo is a “manufacturer” of the Class Laptops within the meaning

of Cal. Civ. Code § 1791(j).

      154. Lenovo made express warranties to Plaintiff and the California

Subclass within the meaning of Cal. Civ. Code §§ 1791.2 & 1793.2(d).

      155. Lenovo breached these express warranties by selling defective Class

Laptops that required repair or replacement within the applicable warranty period.

Despite a reasonable number of attempted repairs, Lenovo has failed to adequately

repair the Defect.


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      156. Lenovo has failed to promptly replace or buy back the laptop of

Plaintiff and the proposed California Subclass as required under Cal. Civ. Code §

1793.2(d)(2).

      157. As a direct and proximate result of Lenovo’s breach of its express

warranties, Plaintiff Irvine and the California Subclass received goods in a

condition that substantially impair their value to Plaintiff and the other Subclass

members. Plaintiff Irvine and the California Subclass have been damaged as a

result of, among other things, overpaying for the Class Laptops, the diminished

value of the Class Laptops, the Class Laptops’ malfunctioning, out-of-pocket costs

incurred, and actual and potential increased maintenance and repair costs.

      158. Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, Plaintiff Irvine and the

California Subclass are entitled to damages and other legal and equitable relief,

including, at their election, the purchase price of the Class Laptops or the

overpayment or diminution in value of their Class Laptops as well as

reimbursement of out-of-pocket expenses incurred as a result of the Defect.

      159. Pursuant to Cal. Civ. Code § 1794(d), (e) Plaintiff Irvine and the

California Subclass are entitled to reasonable costs and attorneys’ fees.




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                                     Count II
            Violations of the Song-Beverly Consumer Warranty Act
                         for Breach of Implied Warranty
                         (Cal. Civ. Code §§ 1790-1795.8)
             (Plaintiff Irvine on Behalf of the California Subclass)

      160. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      161. Plaintiff Irvine brings this claim individually and on behalf of the

California Subclass.

      162. Plaintiff Irvine and the California Subclass members who purchased

the Class Laptops are “buyers” within the meaning of Cal. Civ. Code § 1791(b).

      163. The Class Laptops are “consumer goods” within the meaning of Cal.

Civ. Code § 1791(a).

      164. Lenovo is a “manufacturer” of the Class Laptops within the meaning

of Cal. Civ. Code § 1791(j).

      165. Lenovo impliedly warranted to Plaintiff Irvine that Class Laptops

were “merchantable” within the meaning of Cal. Civ. Code §§ 1791.2 & 1792.

      166. Section 1791.1(a) provides that: “Implied warranty merchantability”

or “implied warranty that goods are merchantable” means that the consumer goods

must meet each of the following:

      a. Pass without objection in the trade under the contract description;

      b. Are fit for the ordinary purpose for which such goods are used;


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      c. Are adequately contained, packaged, and labeled;

      d. Conform to the promises or affirmations of fact made on the container or

          label.

      167. The Defect in the Class Laptops is present in them when sold and

substantially certain to manifest. The Class Laptops would not pass without

objection in the laptop trade because the Defect causes all or substantially all of the

laptops to experience screen flickering that impedes effective or desired use. The

Defect thus affects the central functionality of the laptop, leading to hundreds of

dollars in repair expenses, out-of-pocket costs to purchase replacement laptops and

peripherals, and time-consuming and stressful service calls.

      168. Because the Defect impedes viewing of the laptop screen and

operation, the Class Laptops are not fir for the ordinary purpose for which such

laptops are used.

      169. Class Laptops are not adequately labeled because the labeling fails to

disclose the Defect and does not advise the California Subclass of the Defect.

      170. Any attempt by Lenovo to disclaim its implied warranty obligations

under the Song-Beverly Act is ineffective due to its failure to adhere to Sections

1792.3 and 1792.4. Those sections of the Civil Code provide that, in order to

validly disclaim the implied warranty of merchantability, a manufacturer must “in

simple and concise language” state each of the following: “(1) The goods are being


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sold on an ‘as is’ or ‘with all faults’ basis. (2) The entire rise as to the quality and

performance of the goods is with the buyer. (3) Should the goods prove defective

following their purchase, the buyer and not the manufacturer, distributor, or retailer

assumes the entire cost of all necessary servicing and repair.” Cal. Civ. Code

§ 1792.4(a). Lenovo’s attempted implied warranty disclaimer does not conform to

these requirements.

      171. The Defect deprived Plaintiff Irvine and the California Subclass of the

benefit of their bargain and have resulted in Class Laptops being worth less than

what Plaintiff and the members of the California Subclass paid.

      172. As a direct and proximate result of Lenovo’s breach of its implied

warranties, Plaintiff Irvine and the California Subclass received goods in a

condition that substantially impair their value to Plaintiff and the other Subclass

members. Plaintiff Irvine and the Subclass members have been damaged as a result

of, among other things, overpaying for the Class Laptops, the diminished value of

the Class Laptops, the Class Laptops’ malfunctioning, out-of-pocket costs

incurred, and actual and potential increased maintenance costs and repair costs.

      173. Pursuant to Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiff Irvine and

the California Subclass are entitled to damages and other legal and equitable relief,

including, at their election, the purchase price of the Class Laptops or the




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overpayment or diminution in value of their Class Laptops as well as

reimbursement of out-of-pocket expenses incurred as a result of the Defect.

Pursuant to Cal. Civ. Code § 1794(d), (e) Plaintiff Irvine and the California

Subclass are entitled to reasonable costs and attorneys’ fees.

                                    Count III
         Violations of the California Unfair Competition Law (“UCL”)
                    (Cal. Bus. & Prof. Code §§ 17200-17210)
             (Plaintiff Irvine on Behalf of the California Subclass)

      174. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      175. Plaintiff Irvine brings this claim individually and on behalf of the

California Subclass.

      176. The UCL proscribes acts of unfair competition, including “any

unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue

or misleading advertising.” Cal. Bus. & Prof. Code § 17200. Lenovo’s conduct

violates each of these prohibitions.

                                 Unlawful Conduct

      177. Lenovo’s conduct is unlawful because, as set forth herein, it violates

the Song-Beverly Consumer Warranty Act, among other laws.

      178. Lenovo is: (1) aware of the Defect, which renders the Class Laptops

unreasonably susceptible to have their screens flicker and (2) aware that reasonable

consumers will continue to operate the Class Laptops when their screens flicker

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insofar as reasonable consumers will use alternative methods of operation, like

external monitors, that essentially eliminate the portability of Class Laptops.

Despite this knowledge, Lenovo sold the Class Laptops to Plaintiff Irvine and the

California Subclass; refused to notify Plaintiff Irvine and the California Subclass of

the Defect; and refused to remediate the Class Laptops to eliminate the Defect.

                                  Unfair Conduct

      179. Lenovo’s conduct is unfair because it violated California’s public

policy, including that legislatively declared in the Song-Beverly Consumer

Warranty Act, which requires a manufacturer to ensure that goods it planes on the

market are fit for their ordinary and intended purposes. The Defect impedes

effective and expected operation of the Class Laptops.

      180. Lenovo acted in an immoral, unethical, oppressive, and unscrupulous

manner, in at least the following respects:

   a. Selling Plaintiff and California Subclass members defective Class Laptops;

   b. Failing to disclose the Defect despite the opportunity to do so in numerous
      locations that people in the market for a laptop would be likely to encounter;

   c. Directing and furnishing replacement parts it knew would not adequately
      remedy the defect, and repairing defective parts with more defective parts
      and otherwise failing to adequately remedy the Defect during the warranty
      period;

   d. Failing to exercise adequate quality control and due diligence over the Class
      Laptops before placing them on the market; and




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   e. Failing to acknowledge the scope and severity of the Defect, refusing to
      acknowledge the Class Laptops are defective and failing to provide adequate
      relief to Plaintiffs and California Subclass members.

      181. The gravity of the harm resulting from Lenovo’s unfair conduct

outweighs any potential utility of the conduct. The practice of selling defective

Class Laptops without providing an adequate remedy to cure the Defect harms the

public at large and is part of a common and uniform course of wrongful conduct.

      182. There are reasonably available alternatives that would further

Lenovo’s business interests in increasing sales and preventing false warranty

claims. For examples, Lenovo could have: (a) acknowledged the Defect and

provided a permanent, effective fix for the Defect, and/or (b) disclosed the Defect

prior to prospective consumers’ purchases.

      183. The harm from Lenovo’s unfair conduct was not reasonably avoidable

by consumers. The Class Laptops all suffer from the latent Defect, and Lenovo has

failed to disclose it. Plaintiff Irvine and the California Subclass did not know of

and had no reasonable means of discovering the Defect.

                                Fraudulent Conduct

      184. Lenovo’s conduct is fraudulent in violation of the UCL. Lenovo’s

fraudulent acts include knowingly and intentionally concealing from Plaintiff

Irvine and the California Subclass the existence of the Defect and falsely




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marketing and misrepresenting the Class Laptops as being functional and not

possessing a defect that impedes effective and expected operation.

      185. Lenovo’s misrepresentations and omissions alleged herein caused

Plaintiff and the California Subclass to purchase their Class Laptops or pay more

than they would have had Lenovo disclosed the Defect.

      186. At all relevant times, Lenovo had a duty to disclose the Defect

because it had superior and exclusive knowledge of the Defect, which affects the

central functionality of the laptop, and because Lenovo made partial

representations about the reliability and quality of the Class Laptops but failed to

fully disclose the Defect.

      187. Accordingly, Plaintiff Irvine and the California Subclass have

suffered injuries in fact, including lost money or property, as a result of Lenovo’s

unlawful, unfair, and fraudulent acts. Absent these acts, Plaintiff Irvine and the

California Subclass would not have purchased their Class Laptops at the prices

they paid or would not have purchased them at all.

Plaintiff Irvine and the California Subclass seek appropriate relief under the UCL,

including such orders as may be necessary: (a) to enjoin Lenovo from continuing

its unlawful, unfair, and fraudulent acts or practices, and (b) to restore to Plaintiff

and the California Subclass any money Lenovo acquired by its unfair competition,




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including restitution. Plaintiff also seeks reasonable attorneys’ fees and expenses

under applicable law.

                                    Count IV
             Violations of Georgia’s Fair Business Practices Act
           (By Plaintiff Khetani on Behalf of the Georgia Subclass)
      188. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      189. Plaintiff asserts this cause of action on behalf of himself and the

Georgia Subclass.

      190. Defendant’s practices, acts, policies, and course of conduct, including

its omissions, as described above, were intended to induce, and did induce,

Plaintiff and members of the Georgia Subclass to purchase the above-mentioned

Class Laptops with the screen flicker defect.

      191. Defendant sold the Class Laptops knowingly concealing that they

contained the defects alleged.

      192. Defendant’s acts are and were deceptive acts or practices which are

and/or were, likely to mislead a reasonable consumer purchasing the Class

Laptops. Lenovo’s aforementioned deceptive acts and practices are material, in

part, because they concern an essential facet of the Class Laptops’ cost, durability,

performance, or quality. The sale and distribution of the Class Laptops in Georgia

was a consumer-oriented act and thereby falls under the Georgia's Fair Business

Practices Act.

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      193. Defendant’s practices, acts, policies and course of conduct violated

the Georgia's Fair Business Practices Act in that:

         a. At the time of sale, Defendant knowingly misrepresented and

             intentionally omitted and concealed material information regarding

             the Class Laptops by failing to disclose to Plaintiff and the Georgia

             Subclass the known screen flicker defect.

         b. Thereafter, Defendant failed to disclose the defects to Plaintiff and the

             Georgia Subclass, either through warnings or recall notices, and/or

             actively concealed from them the screen flicker defect, despite the fact

             that the company knew of such defects: (1) at the time of

             manufacturing; (2) at the point when customers posted about the

             defect on Lenovo’s forums; and, at the very latest, (3) when Class

             Laptops were repaired or requested to be repaired within and outside

             the warranty period.

         c. Defendant forced Plaintiff and the Georgia Subclass to expend time

             and/or money to attempt to remedy the screen flicker defect, despite

             the fact that Defendant had prior knowledge of the defect at the time

             of purchase or thereafter.

         d. Defendant also engaged in materially misleading deceptive acts and

             practices by advertising and selling a limited warranty while knowing


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             that significant portions of the damages resulting from the known, but

             concealed, screen flicker defect would not be revealed to the

             consumer until after coverage expired thereunder and that many of the

             laptop displays may fail prematurely, but outside the warranty

             period.

          e. Furthermore, Defendant engaged in materially misleading and

             deceptive acts by continuing to sell the Class Laptops to the

             consuming public and to represent that these laptops were in good

             working order, merchantable, and not defective, despite Defendant’s

             knowledge that the laptops would not perform as intended,

             represented, and warranted and that the above described defects would

             cause purchasers to incur significant out-of-pocket costs and

             expenses.

      194. Despite that Plaintiff and other owners of Class Laptops have

confronted Lenovo with the apparent falsity of the above representations, Lenovo

has not disclosed the screen flicker defect, asserting special knowledge.

      195. The aforementioned conduct is and was deceptive and false and

constitutes an unconscionable, unfair, and deceptive act or practice in that

Defendant has, through knowing, intentional, and material omissions, concealed

the screen flicker defect.


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       196. By making these misrepresentations of fact and/or material omissions

to prospective customers while knowing such representations to be false,

Defendant has misrepresented and/or knowingly and intentionally concealed

material facts and breached its duty not to do so.

       197. Members of the public were deceived by Defendant’s failure to

disclose and could not discover the defect themselves before suffering their

injuries.

       198. Had Plaintiff and the Georgia Subclass known about the existence of

the screen flicker defect they would not have purchased their Class Laptops and/or

paid as much for them. As such Plaintiff and the Georgia Subclass overpaid for

their Class Laptops and did not receive the benefit of their bargain.

       199. As a direct and proximate result of these unconscionable, unfair, and

deceptive acts or practices, Plaintiff and the Georgia Subclass have been injured as

alleged herein, and are entitled to recover actual, punitive and/or statutory damages

to the extent permitted by law, in an amount to be proven at trial.

       200. Plaintiff and the Georgia Subclass also seek appropriate equitable

relief, including an order requiring Lenovo to adequately disclose and remediate

the screen flicker defect and an order enjoining Lenovo from selling laptops with

the screen flicker defect in the future.




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                                     Count V

           Violations of Massachusetts’ Consumer Protection Law
                     (Mass. Gen. Laws Ch. 93a, § 1. et seq.)
         (By Plaintiff Eckert on Behalf of the Massachusetts Subclass)

      201. Plaintiff incorporates by reference each preceding paragraph as

though fully set forth herein.

      202. Plaintiff Eckert brings this claim on behalf of himself and the

Massachusetts Subclass pursuant to Mass. Gen. Laws Ch. 93a, § 1, et seq.

      203. Plaintiff Eckert, the members of the Massachusetts Subclass, and

Defendant is a “person” within the meaning of Mass. Gen. Laws Ch. 93A, § 1(a).

      204. Defendant is engaged in “trade” or commerce,” within the meaning of

Mass. Gen. Laws Ch. 93A, § 2.

      205. The Massachusetts consumer protection law prohibits “unfair or

deceptive acts or practices in the conduct of any trade or commerce.” Mass. Gen.

Laws Ch. 93A, § 2.

      206. In the course of Lenovo’s business, Lenovo intentionally or

negligently concealed and suppressed material facts concerning the Defect

affecting the displays of the Class Laptops. Defendant accomplished this by failing

to disclose the known risk of the screen flicker without warning, denying warranty

claims arising from the defect, and denying the existence of the defect.




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      207. Defendant engaged in one or more of the following unfair or

deceptive acts or practices as prohibited by Mass. Gen. Laws Ch. 93A, § 2:

   a. Causing likelihood of confusion or of misunderstanding as to the approval or

      certification of the Class Laptop;

   b. Representing that the Class Laptops have approval, characteristics, uses, or

      benefits that they do not have;

   c. Representing that the Class Laptops are of a particular standard, quality, and

      grade when they are not;

   d. Advertising the Class Laptops with the intent not to sell or lease them as

      advertised;

   e. Engaging in other conduct which created a likelihood of confusion or of

      misunderstanding; and

   f. Using or employing deception, fraud, false pretense, false promise or

      misrepresentation, or the concealment, suppression, or omission of a

      material fact with intent that others rely upon such concealment, suppression

      or omission, in connection with the advertisement and sale/lease of the Class

      Laptops, whether or not any person has in fact been misled, deceived or

      damaged thereby.




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      208. Lenovo intentionally and knowingly misrepresented material facts

regarding the Class Laptops with intent to mislead Plaintiff and the Massachusetts

Subclass.

      209. Lenovo knew or should have known that its conduct violated

Massachusetts’ laws prohibiting unfair and deceptive practices.

      210. Plaintiff and the Massachusetts Subclass had no way of discerning

that Defendant’s representation were false and misleading, or otherwise, learning

the facts that Defendant had concealed or failed to disclose. Plaintiff and the

Massachusetts Subclass did not, and could not, unravel Defendant’s deception on

their own.

      211. Defendant had an ongoing duty to Plaintiff and the Massachusetts

Subclass to refrain from unfair and deceptive practices under the Massachusetts

Act in the course of their business. Specifically, Defendant owed Plaintiff and

Massachusetts Subclass members a duty to disclose all the material facts

concerning the Defect because they possessed exclusive knowledge, they

intentionally concealed it from Plaintiff and the Massachusetts Subclass, and/or

they made misrepresentations that were rendered misleading because they were

contradicted by withheld facts.

      212. Plaintiff and the Massachusetts Subclass members suffered

ascertainable loss and actual damages as a direct and proximate result of Lenovo’s


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misrepresentations and its concealment of and failure to disclose material

information. Plaintiff and the Massachusetts Subclass members who purchased the

Class Laptops would not have purchased them at all and/or—if the Laptops’ true

nature had been disclosed—would have paid significantly less for them. Plaintiff

also suffered diminished value of his laptop, as well as lost or diminished use.

      213. As a direct and proximate result of Lenovo’s actions described above,

Plaintiff and the Massachusetts Subclass members have been injured in fact and

suffered damages. Plaintiff and the Massachusetts Subclass seek an order pursuant

to Mass. Gen. Laws Ch. 93A, § 9 enjoining Defendant’s unfair and/or deceptive

acts or practices, and awarding damages, punitive damages, and any other just and

proper relief available under the Massachusetts Act.

      214. On or about January 3, 2020, Plaintiff sent a notice letter to Lenovo,

Inc., pursuant to Mass. Gen. Laws Ch. 93A, § 9(3). Additionally, Defendant was

provided notice of the issues raised in this count and this Complaint by the

numerous complaints lodged by Class Members on Lenovo’s forums within a

reasonable amount of time after the allegations of Class Laptop defects became

public. Because Defendant failed to remedy their unlawful conduct within the

requisite time period, Plaintiff seeks all damages and relief to which Plaintiff and

the Massachusetts Subclass are entitled.




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                                   Count VI
              Violation of the Michigan Consumer Protection Act
                     (Mich. Comp. Laws §§ 445.903 et seq.)
           (By Plaintiff Robinson on Behalf of the Michigan Subclass)

      215. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      216. Plaintiff Robinson brings this cause of action on his own behalf and

on behalf of the members of the Michigan Subclass.

      217. Plaintiff and the Michigan Subclass members are “person[s]” within

the meaning of the Mich. Comp. Laws § 445.902(1)(d).

      218. Lenovo is a “person” engaged in “trade or commerce” within the

meaning of the Mich. Comp. Laws § 445.902(1)(d).

      219. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct

of trade or commerce,” including: “(c) Representing that goods or services have . .

. characteristics . . . that they do not have;” “(e) Representing that goods or services

are of a particular standard . . . if they are of another;” “(s) Failing to reveal a

material fact, the omission of which tends to mislead or deceive the consumer, and

which fact could not reasonably be known by the consumer;” “(bb) Making a

representation of fact or statement of fact material to the transaction such that a

person reasonably believes the represented or suggested state of affairs to be other

than it actually is;” and “(cc) Failing to reveal facts that are material to the

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transaction in light of representations of fact made in a positive manner.” Mich.

Comp. Laws § 445.903(1).

      220. Defendant knowingly failed to disclose, concealed, suppressed and/or

omitted material facts regarding the defective displays and misrepresented the

standard, quality or grade of the Class Laptops, which directly caused harm to the

Plaintiff. Defendant knowingly failed to disclose, concealed, suppressed and/or

omitted material facts regarding the defective displays and misrepresented the

standard, quality or grade of the Class Laptops, which directly caused harm to the

Plaintiff and the Michigan Subclass. Defendant actively suppressed the fact that

the displays in Class Laptops are defective because of materials, workmanship

and/or manufacturing defects.

      221. Further, Defendant employed unfair and deceptive trade practices to

deny repair or replacement of the defective displays under warranty and within a

reasonable time in violation of the Michigan CPA. Defendant also breached its

warranties as alleged herein in violation of the Michigan CPA.

      222. Defendant’s unfair and deceptive trade practices were likely to

deceive a reasonable consumer. Plaintiff and members of the Michigan Subclass

had no reasonable way to know that Class Laptops contained displays that were

defective in materials, workmanship, and/or manufacture. Defendant possessed

superior knowledge as to the quality and characteristics of the Class Laptops,


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including the defective displays, and any reasonable consumer would have relied

on Defendant’s misrepresentations and omissions as Plaintiff and members of the

Subclass did.

      223. Defendant intentionally and knowingly misrepresented and omitted

facts regarding the defective displays with the intent to mislead Plaintiff and

Michigan Subclass members. Defendant knew, or should have known, that the

displays are defective and render Class Laptops unfit for their primary purpose.

      224. Defendant owed a duty to disclose the defective displays to Plaintiff

and the Michigan Subclass because Defendant possessed superior and exclusive

knowledge regarding the defect and the hazard associated with the defective

displays. Rather than disclose the Defect, Defendant engaged in unfair and

deceptive trade practices in order to sell additional Class Laptops and avoid the

cost of repair or replacement of the defective displays.

      225. Defendant’s unfair and deceptive acts or practices, affirmative

misrepresentations and/or material omissions regarding the defective Class

Laptops were intended to mislead consumers and misled Plaintiff and Subclass

members.

      226. At all relevant times, Defendant’s unfair and deceptive acts or

practices, affirmative misrepresentations and/or omissions regarding the defective

displays were material to Plaintiff and the Michigan Subclass. When Plaintiff and


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the Michigan Subclass purchased their Class Laptops, they reasonably relied on the

reasonable expectation that the Class Laptops would be free from defects and

would have non-defective display. Had Defendant disclosed that the displays were

defective and would cause significant monetary losses, Plaintiff and the Michigan

Subclass would not have purchased the Class Laptops, or would have paid less for

them.

        227. Defendant had a continuous duty to Plaintiff and the Michigan

Subclass to refrain from unfair and deceptive practices under the Michigan CPA

and to disclose the defect. Defendant’s unfair and deceptive acts or practices,

affirmative misrepresentations and/or material omissions regarding the defective

displays are substantially injurious to consumers.

        228. Defendant has knowingly and willfully engaged in unfair and

deceptive trade practices alleged herein. Further, Defendant unconscionably

marketed the Class Laptops to uninformed consumers in order to maximize profits

by selling additional Class Laptops containing the undisclosed defect. Defendant’s

unlawful acts and practices affect the public interest and trade and commerce in the

State of Michigan, were in bad faith, and present a continuing safety hazard to the

Plaintiff and the Michigan Subclass.

        229. As a direct and proximate result of Defendant’s violations of the

Michigan CPA, Plaintiff Robinson and the Michigan Subclass have suffered actual


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damages and/or injury in fact, including, inter alia: (1) out-of-pocket monies for

diagnosis, repair and/or replacement of the defective displays; (2) out-of-pocket

purchase of external monitors or replacement devices; and/or (3) the difference in

value between the Class Laptops promised and warranted, and the Class Laptops

containing the defective displays.

      230. Plaintiff and the Michigan Subclass seek injunctive relief to enjoin

Lenovo from continuing its unfair and deceptive acts; monetary relief against

Lenovo measured as the greater of (a) actual damages in an amount to be

determined at trial and (b) statutory damages in the amount of $250 for Plaintiff

and each Michigan Subclass member; reasonable attorneys’ fees; and any other

just and proper relief available under Mich. Comp. Laws § 445.911.

                                    Count VII
               Violation of the New Jersey Consumer Fraud Act
                        (N.J. Stat. Ann. §§ 56:8-1, et seq.)
           (By Plaintiff Wang on Behalf of the New Jersey Subclass)

      231. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      232. Plaintiff Wang brings this cause of action on his own behalf and on

behalf of the members of the New Jersey Subclass.

      233. Lenovo, New Jersey Plaintiff, and the New Jersey Subclass are

“persons” within the meaning of the New Jersey Consumer Fraud Act (“New

Jersey CFA”), N.J. Stat. Ann. § 56:8-1(d).

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      234. Lenovo engaged in “sales” of “merchandise” within the meaning of

N.J. Stat. Ann. § 56:8-1(c), (d).

      235. The New Jersey CFA protects consumers against “[t]he act, the use or

employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing,

concealment, suppression, or omission of any material fact with intent that others

rely upon such concealment, suppression or omission, in connection with the sale

or advertisement of any merchandise…” N.J. Stat. Ann. § 56:8-2.

      236. Lenovo engaged in unlawful trade practices including representing

that Class Laptops have characteristics, uses, benefits, and qualities which they do

not have; representing that Class Laptops are of a particular standard and quality

when they are not; advertising Class Laptops with the intent not to sell them as

advertised; and engaging in other fraudulent or deceptive conduct which creates a

likelihood of confusion or of misunderstanding.

      237. In the course of its business, Lenovo willfully failed to disclose and

actively concealed the defective display discussed herein and otherwise engaged in

activities with a tendency or capacity to deceive. Lenovo also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in


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connection with the sale of the Class Laptops. Lenovo knew it had installed a

defective display and knew that the defective display was not usable. Lenovo

knew this for years, but concealed all of that information. Lenovo was also aware

that it was manufacturing, selling, and distributing laptops throughout the United

States that did not perform as advertised. Lenovo concealed this information as

well. By failing to disclose that the defective display was not usable, by marketing

its laptops as, reliable and of high quality, and by presenting itself as a reputable

manufacturer that valued reliability and stood behind its laptops after they were

sold, Lenovo engaged in deceptive business practices in violation of the New

Jersey CFA.

      238. In the course of Lenovo’s business, it willfully failed to disclose and

actively concealed the serious defect discussed above. Lenovo compounded the

deception by repeatedly asserting that Lenovo Laptops were reliable, of high

quality, and sold by a reputable manufacturer that valued reliability and stood

behind its laptops.

      239. Lenovo’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiff and the New Jersey

Subclass, about the true functionality of the Class Laptops, the quality of the

Lenovo brand, the devaluing of reliability of the Class Laptops, and the true value

of the Class Laptops. Lenovo intentionally and knowingly misrepresented material


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facts regarding the Class Laptops with the intent to mislead Plaintiff and the New

Jersey Subclass. Lenovo knew or should have known that its conduct violated the

New Jersey CFA.

      240. As alleged above, Lenovo made material statements about the

reliability and utility of the Class Laptops and the Lenovo brand that were either

false or misleading. Lenovo owed Plaintiff a duty to disclose the true functionality

and reliability of the Class Laptops, and the devaluing of functionality and

reliability at Lenovo.

      241. Defendant owed a duty to disclose the defective display to the

Plaintiffs and the New Jersey Subclass because Defendant possessed superior and

exclusive knowledge regarding the defect associated with the defective display.

Rather than disclose the defect, Defendant engaged in unfair and deceptive trade

practices in order to sell additional Class Laptops and avoid the cost of repair or

replacement of the defective displays.

      242. Defendant’s unfair and deceptive acts or practices, affirmative

misrepresentations and/or material omissions regarding the defective displays were

intended to mislead consumers and misled Plaintiff Wang and the New Jersey

Subclass.

      243. At all relevant times, Defendant’s unfair and deceptive acts or

practices, affirmative misrepresentations and/or omissions regarding the defective


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displays were material to Plaintiff and the New Jersey Subclass. When Plaintiff

and the New Jersey Subclass purchased their Class Laptops, they reasonably relied

on the reasonable expectation that the Class Laptops would be free from defects

and would have a functional display. Had Defendant disclosed that the displays

were defective and would cause significant monetary losses, Plaintiff and the New

Jersey Subclass would not have purchased the Class Laptops, or would have paid

less for their laptops.

       244. Defendant had a continuous duty to Plaintiff and the New Jersey

Subclass to refrain from unfair and deceptive practices under the New Jersey CFA

and to disclose the defect. Defendant’s unfair and deceptive acts or practices,

affirmative misrepresentations and/or material omissions regarding the defective

displays are substantially injurious to consumers.

       245. Defendant’s unlawful acts and practices affect the public interest and

trade and commerce in the State of New Jersey, were in bad faith, and present a

continuing hazard to Plaintiff, the New Jersey Subclass and the public.

       246. As a direct and proximate result of Defendant’s violations of the New

Jersey CFA, Plaintiff and the New Jersey Subclass have suffered actual damages

and/or injury in fact, including, inter alia: (1) out-of-pocket monies for diagnosis,

repair and/or replacement of the defective displays; (2) out-of-pocket purchase of

external monitors or replacement devices; and/or (3) the difference in value


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between the Class Laptops promised and warranted, and the Class Laptops

containing the defective displays.

      247. As a result of the foregoing conduct of Lenovo, Plaintiff and the New

Jersey Subclass have been damaged in an amount to be proven at trial, and seek all

just and proper remedies, including but not limited to, actual and statutory

damages, treble damages, and an order enjoining Lenovo’s deceptive and unfair

conduct, costs and reasonable attorneys’ fees under N.J. Stat. § 56:8-19, and all

other just and appropriate relief.

                                  Count VIII
              Violations of New York General Business Law § 349
                           (N.Y. Gen. Bus. Law § 349)
           (By Plaintiff Urquiza on Behalf of the New York Subclass)

      248. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      249. Plaintiff Urquiza brings this claim on behalf of himself and the New

York Subclass.

      250. Defendant conducts “business, trade or commerce” within the

meaning of N.Y. Gen. Bus. Law § 349(a).

      251. Plaintiff Urquiza and members of the New York Subclass are

“persons” within the meaning of N.Y. Gen. Bus. Law § 349(h).

      252. In the course of Lenovo’s business, Lenovo intentionally or

negligently concealed and suppressed material facts concerning the Defect

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affecting the displays of the Class Laptops. Defendant accomplished this by failing

to disclose the known risk of the display flickering without warning, denying

warranty claims arising from the defect, and denying the existence of the defect.

      253. Defendant thus violated N.Y. Gen. Bus. Law § 349, at a minimum by:

   a. Causing likelihood of confusion or of misunderstanding as to the approval or

      certification of the Class Laptops;

   b. Representing that the Class Laptops have approval, characteristics, uses, or

      benefits that they do not have;

   c. Representing that the Class Laptops are of a particular standard, quality, and

      grade when they are not;

   d. Advertising the Class Laptops with the intent not to sell or lease them as

      advertised;

   e. Engaging in other conduct which created a likelihood of confusion or of

      misunderstanding; and

   f. Using or employing deception, fraud, false pretense, false promise or

      misrepresentation, or the concealment, suppression or omission of a material

      fact with intent that others rely upon such concealment, suppression, or

      omission, in connection with the advertisement and sale of the Class

      Laptops, whether or not any person has in fact been misled, deceived or

      damaged thereby.


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      254. Lenovo intentionally and knowingly misrepresented material facts

regarding the Class Laptops with intent to mislead Plaintiff and the New York

Subclass.

      255. Lenovo knew or should have known that its conduct violated N.Y.

Gen. Bus. Law § 349.

      256. Defendant owed Plaintiff and the New York Subclass members a duty

to disclose, truthfully, all the facts concerning the reliability of the Class Laptops

because it:

   a. Possessed exclusive knowledge of the Defect;

   b. Intentionally concealed the Defect from consumers; and

   c. Made incomplete or negligent representations about the Class Laptops

      generally, while purposefully withholding material facts from Plaintiff and

      the New York Subclass.

      257. Defendant’s acts and omissions have also been unfair because they

have caused substantial injury to consumers without any countervailing benefit.

The conduct has been unethical and unscrupulous.

      258. Plaintiff and New York Subclass members suffered ascertainable loss

and actual damages as a direct and proximate result of Lenovo’s

misrepresentations and its concealment of and failure to disclose material

information. Plaintiff and the New York Subclass members who purchased the


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Class Laptops would not have purchased or leased them at all and/or—if the

Laptops’ true nature had been disclosed—would have paid significantly less for

them. Plaintiff also suffered diminished value of his laptop, as well as lost or

diminished use.

      259. Defendant’s violations present a continuing risk to Plaintiff and the

general public. Defendant’s unlawful acts and practices complained of herein

affect the public interest and are likely to be repeated.

      260. As a direct and proximate result of Lenovo’s actions described above,

Plaintiff and the New York Subclass members have been injured in fact and

suffered damages, and seek relief in the form of actual damages, statutory

damages, punitive damages, reasonable attorneys’ fees, and any other just and

proper relief available under N.Y. Gen. Bus. Law § 349.

                                   Count IX
          Violation of the Pennsylvania Unfair Trade Practices and
                          Consumer Protection Law
                           (73 P.S. §§ 201-1, et seq.)
        (By Plaintiff LaMarca on Behalf of the Pennsylvania Subclass)

      261. Plaintiffs incorporate by reference each preceding paragraph as

though fully set forth herein.

      262. Plaintiff LaMarca brings this cause of action on his own behalf and on

behalf of the members of the Pennsylvania Subclass.




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      263. Plaintiff and the Pennsylvania Subclass purchased their Class Laptops

primarily for personal, family or household purposes within the meaning of 73 P.S.

§ 201-9.2.

      264. All of the acts complained of herein were perpetrated by Lenovo in

the course of trade or commerce within the meaning of 73 P.S. § 201-2(3).

      265. The Pennsylvania Unfair Trade Practices and Consumer Protection

Law ("Pennsylvania CPL") prohibits unfair or deceptive acts or practices,

including: (a) "Representing that goods or services have . . . characteristics, . . .

[b]enefits or qualities that they do not have;" (b) "Representing that goods or

services are of a particular standard, quality or grade . . . if they are of another;" (c)

"Advertising goods or services with intent not to sell them as advertised;" and (d)

"Engaging in any other fraudulent or deceptive conduct which creates a likelihood

of confusion or misunderstanding." 73 P.S. § 201-2(4).

      266. Lenovo engaged in unlawful trade practices including representing

that Class Laptops have characteristics, uses, benefits, and qualities which they do

not have; representing that Class Laptops are of a particular standard and quality

when they are not; advertising Class Laptops with the intent not to sell them as

advertised; and engaging in other fraudulent or deceptive conduct which creates a

likelihood of confusion or of misunderstanding.




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       267. In the course of its business, Lenovo willfully failed to disclose and

actively concealed the defective display discussed herein and otherwise engaged in

activities with a tendency or capacity to deceive. Lenovo also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of any material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Class Laptops.

       268. Lenovo knew it had installed defective displays in the Class Laptops

and knew that the defective displays were not usable. Lenovo knew this for years

but concealed all of that information. Lenovo was also aware that it was

manufacturing, selling, and distributing laptops throughout the United States that

did not function as advertised. By marketing its laptops as functional, reliable, and

of high quality, and by presenting itself as a reputable manufacturer that valued

reliability and stood behind its laptops and its Warranty after they were sold,

Lenovo engaged in deceptive business practices in violation of the Pennsylvania

CPL.

       269. In the course of Lenovo’s business, it willfully failed to disclose and

actively concealed the serious defect discussed above. Lenovo compounded the

deception by repeatedly asserting that Lenovo branded Laptops were functional,




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reliable, of high quality, and sold by a reputable manufacturer that valued

reliability and stood behind its laptops after they had been sold.

      270. Lenovo’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiff and the Pennsylvania

Subclass, about the true functionality of the Class Laptops, the quality of the

Lenovo brand, the devaluing of functionality and reliability at Lenovo, and the true

value of the Class Laptops. Lenovo intentionally and knowingly misrepresented

material facts regarding the Class Laptops with the intent to mislead Plaintiff and

the Pennsylvania Subclass. Lenovo knew or should have known that its conduct

violated the Pennsylvania CPL.

      271. Defendant owed a duty to disclose the defective displays to the

Plaintiff and Pennsylvania Subclass because Defendant possessed superior and

exclusive knowledge regarding the defect with the defective displays. Rather than

disclose the defect, Defendant engaged in unfair and deceptive trade practices in

order to sell additional Class Laptops and avoid the cost of repair or replacement of

the defective displays.

      272. Defendant’s unfair and deceptive acts or practices, affirmative

misrepresentations and/or material omissions regarding the defective displays were

intended to mislead consumers and misled Plaintiff and the Pennsylvania Subclass.




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      273. At all relevant times, Defendant’s unfair and deceptive acts or

practices, affirmative misrepresentations and/or omissions regarding the defective

displays were material to Plaintiff and the Pennsylvania Subclass. When Plaintiff

and the Pennsylvania Subclass purchased their Class Laptops, they reasonably

relied on the reasonable expectation that the Class Laptops would be free from

defects and would have a safe, non-defective display. Had Defendant disclosed

that the displays were defective and would cause significant monetary losses,

Plaintiff and the Pennsylvania Subclass would not have purchased the Class

Laptops, or would have paid less for their laptops.

      274. Defendant’s unlawful acts and practices affect the public interest and

trade and commerce in the State of Pennsylvania, were in bad faith, and present a

continuing hazard to Plaintiff, the Pennsylvania Subclass and the public.

      275. As a direct and proximate result of Defendant’s violations of the

Pennsylvania CPL, Plaintiff LaMarca and the Pennsylvania Subclass have suffered

actual damages and/or injury in fact, including, inter alia: (1) out-of-pocket monies

for diagnosis, repair and/or replacement of the defective displays; (2) out-of-pocket

purchase of external monitors or replacement devices; and/or (3) the difference in

value between the Class Laptops promised and warranted, and the Class Laptops

containing the defective displays.




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      276. Lenovo is liable to Plaintiff and the Pennsylvania Subclass for treble

their actual damages or $100, whichever is greater, and attorneys’ fees and costs.

73 Pa. Cons. Stat. § 201-9.2(a). Plaintiff and the Pennsylvania Subclass are also

entitled to an award of punitive damages given that Lenovo’s conduct was

malicious, wanton, willful, oppressive, or exhibited a reckless indifference to the

rights of others.

                                     Count X
                Violation of the Washington Consumer Protection
                 Act, Wash. Rev. Code. Ann. § 19.86.010 et seq.
                      (By Plaintiff MacKay on behalf of the
                               WashingtonSubclass)

      277. Plaintiff, individually and on behalf of the Class, repeats and realleges

the foregoing paragraphs as though fully set forth herein.

      278. The Washington Consumer Protection Act, Wash. Rev. Code

§ 19.86.010 et seq. (the “WCPA”) prohibits unfair and deceptive acts or practices

in the conduct of any trade or commerce.

      279. Defendant is a “persons” within the meaning of the WCPA, Wash.

Rev. Code § 19.86.010(1), and conduct “trade” and “commerce” within the

meaning of the WCPA, Wash. Rev. Code § 19.86.010(2).

      280. Plaintiff MacKay and members of the Class are “persons” within the

meaning of the WCPA, Wash. Rev. Code § 19.86.010(1).




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      281. By reason of the conduct alleged herein, Defendant engaged in

unlawful, unfair, and deceptive practices within the meaning of the CPA.

      282. Defendant engaged in materially misleading acts and practices by

marketing and representing that its Laptops were functional, superior products

while failing to disclose the Defect.

      283. Defendant’s omissions and representations were likely to mislead a

consumer acting reasonably under the circumstances. Laptop purchasers are

concerned about the functionality of their screens as their laptops cannot be easily

used without them and would, therefore, find it material if a laptop screen

contained the Defect that rendered them unfit for their ordinary purpose.

      284. Defendant’s failure to disclose the Defect was also unfair, because it

causes substantial injury to consumers without any countervailing benefit. To

market and price a convertible laptop as detailed above while concealing the

Defect that fundamentally interferes with its use is unethical and unscrupulous.

      285. The aforementioned conduct is and was deceptive and false.

Defendant’s wrongful conduct caused Plaintiff and the Class to suffer consumer-

related injuries by causing them to pay more for a product than it was worth, and to

spend money and time attempting to repair the defect, and/or purchase a controller

without the defect.




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      286. Defendant made the claims willingly and knowingly, despite the

numerous consumer complaints detailed herein.

      287. Defendant alone possessed material information about the defect in

the form of pre-market testing, complaints, warranty requests and other

information not available to Plaintiff nor the Class.

      288. Defendant’s violations present a continuing risk to Plaintiff and the

general public. Defendant’s unlawful acts and practices complained of herein

affect the public interest and are likely to be repeated.

      289. As a direct and proximate result of Defendant’s violations of the

above, Plaintiff and Class Members suffered damages including, but not limited to:

(1) paying more for the Class Laptops than they were worth and more than

Plaintiff and Class Members would have had they known of the defect, (2) paying

out of pocket attempting to repair the defect and/or for replacement laptops; and

(3) lost time addressing the Defect.

      290. Plaintiff, individually and on behalf of the Class, seeks relief in the

form of injunctive relief, actual damages, treble damages, and reasonable

attorneys’ fees, pursuant to Wash. Rev. Code § 19.86.090.




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                                     Count XI
                           Breach of Implied Warranty
              (Asserted on behalf of the Nationwide Class / Asserted
               in the Alternative on behalf of the State Subclasses)

      291. Plaintiffs incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

      292. A warranty that the Class Laptops were in merchantable condition is

implied by law.

      293. Plaintiff is an intended third-party beneficiary of Lenovo’s implied

warranties.

      294. These Class Laptops, when sold and at all times thereafter, were not in

merchantable condition and are not fit for the ordinary purpose for which such 2-

in-1 laptops are used. Specifically, the Class Laptops are inherently defective in

that there are defects in the Class Laptops’ screens, which are not of high quality,

and which fail prematurely and/or fail to function properly as detailed herein.

      295. Plaintiff sent Lenovo a notice letter prior to the filing of this action.

Defendant was also provided notice of these issues by numerous informal and

formal complaints filed against it, including the instant Complaint and the various

complaints detailed herein, and by numerous communications sent by Plaintiff and

other Class members.

      296. Any attempt by Lenovo to disclaim or limit its implied warranties is

unconscionable and unenforceable under the circumstances here.

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      297. Specifically, any attempt by Lenovo to limit or disclaim its warranty

limitation is unenforceable because they knowingly sold a defective product

without informing consumers about the defect.

      298. As a direct and proximate result of Defendant’s breach of the

warranties of merchantability, Plaintiffs and the other Class members have been

damaged in an amount to be proven at trial.

                                   Count XII
                          Breach of Express Warranty
             (Asserted on behalf of the Nationwide Class / Asserted
              in the Alternative on behalf of the State Subclasses)

      299. Plaintiffs incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

      300. Defendant expressly warranted that the Class Laptops were of high

quality and, at a minimum, would actually work properly. Defendant also

expressly warranted that it would repair and/or replace defects in material and/or

workmanship free of charge that occurred during the Limited Warranty.

      301. Defendant breached these warranties by selling to Plaintiff and Class

members the Class Laptops with known problems, which are not of high quality,

and which fail prematurely and/or fail to function properly.

      302. As a result of the Defendant’s actions, Plaintiff and Class members

have suffered economic damages including but not limited to costly repairs,

substantial loss in value and resale value of the Laptops, and other

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related damage.

      303. Defendant’s attempt to disclaim or limit its express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendant’s warranty limitations are unenforceable because

they knowingly sold a defective product without informing consumers about the

manufacturing and/or material defect. Furthermore, Defendant continues to charge

Class members for repairing the defective screens – if it repairs them at all --

when in fact such repairs are actually necessitated because of Defendant’s

defective product.

      304. The time limits contained in Defendant’s warranty periods were also

unconscionable and inadequate to protect Plaintiffs and members of the Class.

      305. Among other things, Plaintiff and Class members had no meaningful

choice in determining these time limitations, the terms of which unreasonably

favored Defendant.

      306. A gross disparity in bargaining power existed between Lenovo and

Class members, and Lenovo knew or should have known that the Class Laptops

were defective at the time of sale and would fail well before their useful lives.

      307. In addition, Lenovo’s warranty fails of its essential purpose because

Lenovo has been and is unable to effectively repair the Defect.

      308. Plaintiffs and Class members have complied with all obligations


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under the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendant’s conduct described herein. In addition,

Plaintiff sent Defendant a notice letter prior to the filing of this action.

                                   Count XIII
                         Unjust Enrichment/Restitution
             (Asserted on behalf of the Nationwide Class / Asserted
              in the Alternative on behalf of the State Subclasses)

      309. Plaintiffs alleges and incorporates by reference the allegations in the

preceding paragraphs.

      310. Plaintiffs alleges and incorporates by reference the allegations in the

preceding paragraphs, and asserts a claim for unjust enrichment on behalf of the

Nationwide Class.

      311. Lenovo has been unjustly enriched as a result of the conduct described

in this Complaint.

      312. Lenovo received a benefit from Plaintiff and other members of the

Nationwide Class in the form of payment for products purchased on Lenovo’s

website.

      313. Retention of these benefits by Lenovo would be unjust and inequitable

because Lenovo received these benefits by engaging in a false, deceptive, and

misleading scheme to market the Flex 5 and Yoga 730 as premium, fully

functional 2-in-1 laptop computers, and by engaging in the unlawful, unjust, and

wrongful acts and practices described in this Complaint.


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      314. The benefits (or at least some portion of the benefits) that Lenovo

received were not legitimately earned, and came at the expense of Plaintiff and the

other members of the Nationwide Class.

      315. Lenovo knows that its scheme is unjust, inequitable, and wrongful,

but systematically engages in this scheme anyway in order to gain unfair

advantages and reap unearned financial benefits.

      316. Lenovo is guilty of malice, oppression, and/or fraud through its willful

and conscious disregard for the rights of Plaintiff and other Nationwide Class

members.

      317. Plaintiff and the Nationwide Class are entitled to restitution and

disgorgement of all amounts unjustly retained by Lenovo, as well as other

appropriate relief.

                            PRAYER FOR RELIEF
WHEREFORE, Plaintiffs prays for a judgment against Defendant as follows:

      A. Entering judgment in favor of Plaintiffs against Defendant;

      B. Certification of the proposed Class pursuant to Federal Rule of Civil

           Procedure 23;

      C. Appointment of Plaintiffs as Class Representative for the Class;

      D. Appointment of Plaintiffs’ counsel as Class Counsel;




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      E. A declaration that Lenovo violated the Washington State statutes that

         form the basis for Plaintiffs’ primary statutory claims;

      F. A declaration that Lenovo was unjustly enriched by its conduct as

         described herein;

      G. Monetary damages;

      H. Statutory damages in the alternative;

      I. Restitution;

      J. Injunctive relief in the form of enjoining Lenovo from continuing the

         unlawful, unjust, unfair, and deceptive acts and practices described

         herein, including enjoining Lenovo from misrepresenting and/or

         knowingly and intentionally concealing material facts concerning the

         characteristics, uses, and quality of the Class Laptops detailed herein,

         including by marketing the Class Laptops as “2-in-1” devices with “360°

         flexibility”;

      K. Disgorgement of all monies received by Lenovo as a result of the

         unlawful, unjust, unfair, and deceptive acts and practices described

         herein;

      L. Penalties as provided by law;

      M. Treble damages;




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      N. A permanent injunction enjoining Lenovo from continuing the unlawful,

         unjust, unfair, and deceptive acts and practices described herein;

      O. Pre-judgment and post-judgment interest;

      P. Reasonable attorneys’ fees and expenses; and

      Q. Such other further relief that the Court deems just and equitable.

                                    JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all issues so triable.



Dated: April 2, 2021                        DELEEUW LAW LLC

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